         Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 1 of 60



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



RONNIE MAURICE STEWART, et al.,

              Plaintiffs,
                                          Civil Action No. 1:18-cv-152 (JEB)
   v.


ALEX M. AZAR II, et al.

              Defendants.


        MEMORANDUM IN SUPPORT OF FEDERAL DEFENDANTS’ MOTION
        TO DISMISS OR, IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT
              Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 2 of 60



                                                              TABLE OF CONTENTS

INTRODUCTION......................................................................................................................................................... 1

BACKGROUND ............................................................................................................................................................ 5

I.           Statutory Framework Governing State Medicaid Plans ........................................................................ 5

II.          The Secretary’s Section 1115 Authority ..................................................................................................... 6

III.         CMS Guidance Letter to State Medicaid Directors................................................................................ 7

IV.          Kentucky’s Demonstration Project Application ..................................................................................... 8

V.           The Secretary’s Approval of Kentucky’s Demonstration Project. .................................................... 9

VI.          This Action........................................................................................................................................................10

ARGUMENT .................................................................................................................................................................10

I.           Section 1115 Vests the Secretary With Broad Discretion to Approve State
             Demonstration Projects. ...............................................................................................................................10

             A. The Section 1115 Determination Is Committed to Agency Discretion By Law.................15

             B. At a Minimum, the Secretary’s Determination is Owed Substantial Deference..................17

II.          The Secretary Complied with All APA Standards. ...............................................................................14

             A. KY HEALTH Is an “Experimental, Pilot, or Demonstration Project.” ...............................15

             B. Plaintiffs’ Claims Are All Based on a Fundamental Misunderstanding of the
                Purpose of Section 1115 Demonstrations and the Scope of KY HEALTH. ......................17

             C. The Secretary Properly Judged Kentucky’s Demonstration to Be “Likely to
                Assist in Promoting” Medicaid “Objectives.” ................................................................................20

             D. Plaintiffs’ Interpretation of Medicaid Objectives Is Inconsistent with the
                Statutory Language..................................................................................................................................22

III.         The Claims Challenging Individual Components of KY HEALTH Are Non-
             Justiciable and Non-Reviewable, and Fail on Their Merits. ..............................................................25

             A. The Claims Fail on Their Merits Because the Secretary’s Evaluation of the
                Project as a Whole Complied With all APA Standards. ..............................................................26

             B. Plaintiffs Lack Standing to Pursue Counts Two through Seven. .............................................27

             C. The Secretary’s Approval of KY HEALTH Was Not Arbitrary or Capricious. .................31


                                                                                        i
              Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 3 of 60



             D. Each Challenged Element of the KY HEALTH Demonstration Is Consistent
                With the Secretary’s Section 1115(a)(1) Waiver Authority. ........................................................38

                          1.           The Secretary’s Waiver of Premium Requirements Is Consistent with
                                       His Authority to Waive “Any of the Requirements” of 42 U.S.C.
                                       § 1396a..................................................................................................................................38

                          2.           The Secretary Properly Construed Other § 1396a Requirements......................42

IV.          The Challenge to the SMD Letter Is Non-Justiciable and Outside the Scope of
             Review Under the APA, and Fails on Its Merits In Any Event. ......................................................43

V.           The Take Care Clause Provides No Basis for Relief. ..........................................................................49

VI.          Plaintiffs’ Requested Relief Is Improper..................................................................................................50

CONCLUSION .............................................................................................................................................................50




                                                                                      ii
              Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 4 of 60



                                                         TABLE OF AUTHORITIES

CASES

Aguayo v. Richardson,
  473 F.2d 1090 (2d Cir. 1973) ...........................................................................................................................passim

Am. Hosp. Ass’n v. Bowen,
 834 F.2d 1037 (D.C. Cir. 1987).............................................................................................................................46

Am. Trucking Ass’ns v. Atchison, Topeka & Santa Fe Ry. Co.,
 387 U.S. 397 (1967) ..................................................................................................................................................19

Amer. Petroleum Inst. v. EPA,
 216 F.3d 50 (D.C. Cir. 2000) .................................................................................................................................29

Appalachian Power Co. v. EPA,
  208 F.3d 1015 (D.C. Cir. 2000) ............................................................................................................................46

Barrick Goldstrike Mines Inc. v. Browner,
  215 F.3d 45 (D.C. Cir. 2000) .................................................................................................................................47

Bennett v. Spear,
  520 U.S. 154 (1997) ..................................................................................................................................................44

Beno v. Shalala,
   30 F.3d 1057 (9th Cir. 1994) ...........................................................................................................................12, 16

Blue Cross Ass’n v. Califano,
   473 F. Supp. 1047 (W.D. Mo. 1979), rev’d on other grounds, 622 F.2d 972 (8th Cir. 1980) ...................10

CC Distribs. Inc. v. United States,
  883 F.2d 146 (D.C. Cir. 1989) ..............................................................................................................................12

C.K. v. New Jersey Dep’t of Health & Human Servs.
   92 F.3d 171 (3d Cir. 1996) ...............................................................................................................................passim

Cal. Welfare Rights Org. v. Richardson (“CWRO”),
   348 F. Supp. 491 (N.D. Cal. 1972) ................................................................................................................passim

Cape Cod Hosp. v. Sebelius,
  630 F.3d 203 (D.C. Cir. 2011) ...............................................................................................................................20

Chevron U.S.A., Inc. v. Nat. Res. Def. Council, Inc.,
  467 U.S. 837 (1984) ..................................................................................................................................................14

Citizens to Pres. Overton Park, Inc. v. Volpe,
   401 U.S. 402 (1971), abrogated in part on other grounds by, Califano v. Sanders, 430 U.S. 99 (1977) ........15


                                                                                   iii
              Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 5 of 60



City of Arlington v. FCC,
   569 U.S. 290 (2013)....................................................................................................................................14, 25, 41

Clapper v. Amnesty Int’l USA,
  568 U.S. 398 (2013) ..................................................................................................................................................30

Consumer Elecs. Ass’n v. FCC,
  347 F.3d 291 (D.C. Cir. 2003) ...............................................................................................................................19

Consumer Fed’n of Am. v. Consumer Prod. Safety Comm’n,
  990 F.2d 1298 (D.C. Cir. 1993).............................................................................................................................32

Crane v. Mathews,
  417 F. Supp. 532 (N.D. Ga. 1976) .........................................................................................................11, 15, 39

CSI Aviation Servs., Inc. v. U.S. Dep’t of Transp.,
  637 F.3d 408 (D.C. Cir. 2011) ...............................................................................................................................44

Cty. of L.A. v. Shalala,
  192 F.3d 1005 (D.C. Cir. 1999).............................................................................................................................50

Davis v. FEC,
  554 U.S. 724 (2008) ..................................................................................................................................................26

Encino Motorcars, LLC v. Navarro,
  136 S. Ct. 2117 (2016)..............................................................................................................................................48

FCC v. Fox Television Stations, Inc.,
  556 U.S. 502 (2009) ...........................................................................................................................................47, 48

Fla. Power & Light Co. v. Lorion,
  470 U.S. 729 (1985) ..................................................................................................................................................50

Franklin v. Massachusetts,
  505 U.S. 788 (1992) ..................................................................................................................................................49

Fund for Animals, Inc. v. U.S. Bureau of Land Mgmt.,
  460 F.3d 13 (D.C. Cir. 2006) .................................................................................................................................45

Ga. Hosp. Ass’n v. Dep’t of Med. Assistance,
  528 F. Supp. 1348 (N.D. Ga. 1982).....................................................................................................................10

Heartland Reg’l Med. Ctr. v. Sebelius,
  566 F.3d 193 (D.C. Cir. 2009) ...............................................................................................................................50

Heckler v. Chaney,
  470 U.S. 821 (1985) ..................................................................................................................................................11



                                                                                   iv
              Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 6 of 60



Heckler v. Ringer,
  466 U.S. 602 (1984) ..................................................................................................................................................14

Holistic Candlers & Consumers Ass’n v. FDA,
  664 F.3d 940 (D.C. Cir. 2012) ...............................................................................................................................47

In re Sci. Applications Int’l Corp. Backup Tape Data Theft Litig. (SAIC),
   45 F. Supp. 3d 14 (D.D.C. 2014)..................................................................................................................28, 31

Indep. Equip. Dealers Ass’n v. EPA,
   372 F.3d 420 (D.C. Cir. 2004) ...............................................................................................................................47

Kansas Corp. Comm’n v. Fed. Energy Regulatory Comm’n,
  881 F.3d 924 (D.C. Cir. 2018) ...............................................................................................................................31

Kreis v. Sec’y of the Air Force,
   866 F.2d 1508 (D.C. Cir. 1989) ............................................................................................................................14

Lincoln v. Vigil,
  508 U.S. 182 (1993) ..................................................................................................................................................12

MCI Telecomms. Corp. v. AT&T Co.,
  512 U.S. 218 (1994)..................................................................................................................................................18

Mississippi v. Johnson,
  71 U.S. (4 Wall.) 475 (1866) ...................................................................................................................................49

Molycorp, Inc. v. EPA,
  197 F.3d 543 (D.C. Cir. 1999) ...............................................................................................................................47

Motor Vehicle Mfrs. Ass’n of the U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,
  463 U.S. 29 (1983).....................................................................................................................................................49

N. America’s Bldg. Trades Unions v. OSHA,
  878 F.3d 271 (D.C. Cir. 2017) ..............................................................................................................................48

Nat’l Ass’n of Home Builders v. E.P.A.,
  682 F.3d 1032 (D.C. Cir. 2012) ............................................................................................................................49

Nat’l Ass’n of Home Builders v. Norton,
  415 F.3d 8 (D.C. Cir. 2005)....................................................................................................................................45

Nat’l Fed’n of Indep. Bus. v. Sebelius,
 567 U.S. 519 (2012) ............................................................................................................................................... 5, 6

Nat’l Min. Ass’n v. McCarthy,
 758 F.3d 243 (D.C. Cir. 2014) .................................................................................................................44, 45, 46



                                                                                    v
              Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 7 of 60



Nat’l Multi Hous. Council v. Jackson,
  539 F. Supp. 2d 425 (D.D.C. 2008).....................................................................................................................44

Newton-Nations v. Betlach,
  660 F.3d 370 (9th Cir. 2011) ...........................................................................................................................12, 41

Norton v. S. Utah Wilderness All.,
  542 U.S. 55 (2004).....................................................................................................................................................43

Otsuka Pharm. Co. v. Price,
  869 F.3d 987 (D.C. Cir. 2017) ...............................................................................................................................48

Pension Benefit Guar. Corp. v. LTV Corp.,
   496 U.S. 633 (1990)..................................................................................................................................................24

Pharm. Research & Mfrs. Am. v. Thompson,
  362 F.3d 817 (D.C. Cir. 2004) ...............................................................................................................................13

Pharmecutical Research & Manufacturers of America v. Thompson,
  251 F.3d 219 (D.C. Cir. 2001) ...............................................................................................................................39

Phoenix Baptist Hosp. & Med. Ctr. v. United States,
   728 F. Supp. 1423 (D. Ariz. 1989), aff’d, 937 F.2d 452 (9th Cir. 1991).............................................10, 12

Portland Adventist Med. Ctr. v. Thompson,
  399 F.3d 1091 (9th Cir. 2005).........................................................................................................................13, 25

Pub. Citizen, Inc. v. Dep’t of Health & Human Servs.,
  332 F.3d 654 (D.C. Cir. 2003) ...............................................................................................................................20

Reliable Automatic Sprinkler Co. v. Consumer Prod. Safety Comm’n,
   324 F.3d 726 (D.C. Cir. 2003) ..............................................................................................................................45

Rural Cellular Ass’n v. FCC,
  588 F.3d 1095 (D.C. Cir. 2009).............................................................................................................................14

Sabre, Inc. v. U.S. Dep’t of Transp.,
  429 F.3d 1113 (D.C. Cir. 2005).............................................................................................................................27

Schweiker v. Gray Panthers,
   453 U.S. 34 (1981)....................................................................................................................................................... 5

Scialabba v. Cuellar de Osorio,
   134 S. Ct. 2191 (2014).......................................................................................................................................41, 43

Susan B. Anthony List v. Driehaus,
   134 S. Ct. 2334 (2014) .............................................................................................................................................28



                                                                                     vi
              Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 8 of 60



United States v. Mead Corp.,
  533 U.S. 218 (2001) ..................................................................................................................................................13

United Tel. Workers, AFL-CIO v. FCC,
  436 F.2d 920 (D.C. Cir. 1970) ...............................................................................................................................32

Util. Air Regulatory Grp. v. EPA,
  320 F.3d 272 (D.C. Cir. 2003) ...............................................................................................................................43

Webster v. Doe,
 486 U.S. 592 (1988) ..................................................................................................................................................11

Whitmore v. Arkansas,
 495 U.S. 149 (1990) ..................................................................................................................................................28

Wood v. Betlach,
 922 F. Supp. 2d 836 (D. Ariz. 2013) .....................................................................................................10, 26, 27

STATUTES

5 U.S.C. § 553 ............................................................................................................................................................. 7, 47

5 U.S.C. § 701 ..................................................................................................................................................................11

5 U.S.C. § 704 ..................................................................................................................................................................44

42 U.S.C. § 1315 .......................................................................................................................................................passim

42 U.S.C. § 1396-1 ...................................................................................................................................................passim

42 U.S.C. § 1396a .....................................................................................................................................................passim

42 U.S.C. § 1396a-1 .......................................................................................................................................................20

42 U.S.C. § 1396b............................................................................................................................................... 5, 20, 21

42 U.S.C. § 1396d...........................................................................................................................................................43

42 U.S.C. § 1396o......................................................................................................................................38, 39, 40, 41

42 U.S.C. § 1396o-1.........................................................................................................................................38, 40, 41

42 U.S.C. § 1396r-8........................................................................................................................................................39

42 U.S.C. § 18031 ...........................................................................................................................................................24

Balanced Budget Act of 1997,
   Pub. L. 105-33, 111 Stat. 251, codified as amended at 42 U.S.C. §§ 1396u-2 to 1396u-3 ............ 3, 17



                                                                                       vii
              Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 9 of 60



Patient Protection and Affordable Care Act,
   Pub. L. No. 111-148, 124 Stat. 119 (2010) ......................................................................................................... 5

Health Care and Education Reconciliation Act of 2010,
  Pub. L. No. 111-152, 124 Stat. 1029..................................................................................................................... 5

REGULATIONS

42 C.F.R. § 431.408........................................................................................................................................................47

42 C.F.R. § 431.416.......................................................................................................................................................... 7

42 C.F.R. §§ 447.51 – 447.54 ......................................................................................................................................42

42 C.F.R. § 447.54 ..........................................................................................................................................................42

907 Ky. Admin. Regs 20:010 ......................................................................................................................................31

UNITED STATES CONSTITIUTON

U.S. Const., Art. II, § 3..........................................................................................................................................10, 49

OTHER AUTHORITIES

H.R. Rep. No. 87-1414 (1962) ...................................................................................................................................13

H. R. Rep. No. 97-757 (1982) ....................................................................................................................................41

S. Rep. No. 79-752 (1945) ...........................................................................................................................................11

S. Rep. No. 87-1589 (1962), as reprinted in 1962 U.S.C.C.A.N. 1943 ......................................................... 6, 17




                                                                                     viii
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 10 of 60



                                         INTRODUCTION

        There are essentially two Medicaid programs: traditional Medicaid for families with dependent

children and those who are aged, blind, or disabled, and expanded Medicaid for childless, non-disabled

adults. The purposes of the two programs are different. This case is primarily about the expanded

Medicaid population of childless, non-disabled adults.

        Kentucky has developed, and the Secretary of Health and Human Services has approved, a

demonstration project that requires certain individuals to meet a community-engagement requirement

to receive Medicaid, based on evidence that such engagement improves health outcomes. They can

satisfy the requirement by taking general education courses, obtaining job skills training, searching for

a job, working, volunteering in the community, caring for a non-dependent relative, or participating

in substance abuse treatment. Compliance is reported through a simple attestation. In approving this

innovative and experimental project, the Secretary acted under express statutory authorization to

waive Medicaid requirements for demonstration projects that, in the Secretary’s judgment, are likely

to assist in promoting Medicaid’s objectives. Plaintiffs nevertheless argue that the Secretary acted

beyond his statutory authority, and arbitrarily and capriciously.

        Plaintiffs build their case on a foundation of caricatures. They mischaracterize many features

of Kentucky’s program; they omit critical language from their quotations of the Medicaid statute to

misstate its purposes; and they advance an unjustifiably narrow view of the Secretary’s broad waiver

authority. After the caricatures are swept away, plaintiffs’ case is revealed for what it is: a policy

disagreement with an experimental project designed to test innovative methods to promote health by

encouraging members of the Medicaid expansion population to engage in healthy behaviors, lifting

them out of poverty, empowering them to access preventive services, and combatting the substance-

abuse crisis that is devastating Kentucky.

        Take plaintiffs’ mischaracterizations of Kentucky’s program, called KY HEALTH. Plaintiffs
       Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 11 of 60



say KY HEALTH “imposes a work requirement,” Pls.’ Mot. Summ. J. 1, ECF No. 33 (“Pls.’ Mem.),

and they repeat that claim dozens of times. It is false. Beneficiaries may work to maintain eligibility

for Medicaid, but they may also count hours spent taking general education courses, obtaining job

skills training, searching for a job, volunteering in the community, or caring for a non-dependent

relative or other person with a disabling medical condition. Beneficiaries may also participate in

substance abuse treatment, a particularly critical program feature given the catastrophic effects of the

opioid crisis in Kentucky. By invoking the “work requirement” fiction, plaintiffs avoid confronting

the actual project the Secretary approved.

        The caricatures do not end there. Nowhere in their brief do plaintiffs acknowledge that the

community engagement program applies only to adults who are not disabled and are capable of doing

the activities described above. Many Medicaid-eligible individuals are categorically exempt: medically

frail individuals, those diagnosed with an acute medical condition, full-time students, pregnant women,

former foster care youth, primary caregivers, and individuals under 19 or over 64 years old do not

have to meet the community-engagement requirement.           Again, the requirement applies only to

Medicaid-eligible individuals who are readily capable of community engagement.

       Plaintiffs also misstate the purposes of the Medicaid program by omitting key portions of the

statutory text, which were enacted before the expansion. Although they correctly point out that

Medicaid’s appropriations provision makes funds available to “furnish (1) medical assistance,”

plaintiffs excise qualifying language (“as far as practicable under the conditions in such State”) that

limits the furnishing of medical assistance to only what is economically and operationally practicable.

42 U.S.C. § 1396-1. In approving KY HEALTH, the Secretary appropriately considered Kentucky’s

unique conditions, including the Commonwealth’s prediction that the costs of caring for the Medicaid

expansion population could jeopardize services for the traditional Medicaid population.

       Further, although the stated purpose in § 1396-1 is to furnish medical assistance on behalf of

                                                   2
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 12 of 60



“families with dependent children and of aged, blind, or disabled individuals” (i.e., the traditional

Medicaid population), the focus of KY HEALTH is instead primarily on the expansion population—

able-bodied adults without dependent children. Rather than explain why statutory text that refers only

to the traditional Medicaid population should be extended to the expansion population, plaintiffs

rewrite the statute by replacing “families with dependent children” and “aged, blind, or disabled

individuals” with “[individuals].” See, e.g., Pls.’ Mem. 16.

        Plaintiffs’ view of the Secretary’s demonstration authority is also unsound. They claim the

waiver authority cannot be used to “transform” the Medicaid program, but that argument

fundamentally misreads Section 1115. Congress has, over the years, dramatically altered Medicaid

based on the results of demonstration projects that are far more transformative than the one at issue

here. In 1997, relying on the results of numerous demonstration projects, Congress authorized States

to deliver health care through managed care organizations. See Balanced Budget Act of 1997, Pub. L.

105-33, 111 Stat. 251 (codified as amended at 42 U.S.C. §§ 1396u-2 to 1396u-3). By definition,

demonstration projects are experimental. Accordingly, the Secretary may act on the basis of a “lower

threshold” of support than might otherwise be required. Aguayo v. Richardson, 473 F.2d 1090, 1103 (2d

Cir. 1973). Since even “the experimental project that ‘fails’ may well assist in promoting the objectives

precisely by demonstrating what will not work,” Cal. Welfare Rights Org. v. Richardson, 348 F. Supp. 491,

497 (N.D. Cal. 1972) (“CWRO”), Congress vested the Secretary with wide discretion to approve

demonstration projects and grant waivers.

        Plaintiffs nevertheless ask the Court to substitute its judgment for the Secretary’s on the

wisdom of numerous features of KY HEALTH—like the potential efficacy of community-

engagement requirements (Count Two), premium requirements (Count Three), cost-sharing for non-

emergency use of emergency rooms (Count Four), coverage lockouts (Count Five), limits on

retroactive coverage (Count Six), and limits on non-emergency medical transportation (Count

                                                     3
       Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 13 of 60



Seven)—plus the wisdom of KY HEALTH as a whole (Count Eight). They also challenge a letter

from the Centers for Medicare & Medicaid Services (“CMS”) to State Medicaid Directors announcing

a new HHS policy generally favoring community engagement requirements (Count One), and allege a

violation of the Take Care Clause of the U.S. Constitution (Count Nine).

        Plaintiffs cannot show that they face a certainly impending injury from any of the features of

KY HEALTH that they criticize. They therefore lack standing to challenge either the project as a

whole or any of its individual components. In any event, the Secretary exercised his lawful authority

to conclude that KY HEALTH, taken as a whole, is likely to assist in promoting the objectives of the

Medicaid Act. The statute requires nothing more, and it commits that decision solely to the Secretary’s

discretion. Even if the Secretary’s decision could be reviewed, he properly considered the relevant

factors to find that the project could test useful propositions in furtherance of the statute. So

defendants are entitled to judgment in their favor on Counts Two through Eight.

        Count One fails too. The State Medicaid Director (“SMD”) letter is a nonbinding guidance

document that is not a final agency action. It is not subject to notice-and-comment requirements and,

in any case, provided a reasoned explanation for the policy shift. Finally, plaintiffs’ claim under the

Take Care Clause in Count Nine, on which they have declined to move for judgment, should be

dismissed because that Clause is not judicially enforceable.

        At their core, plaintiffs’ objections to KY HEALTH are rooted in policy preferences, not law.

The question of community engagement for Medicaid beneficiaries is hotly disputed among

policymakers. Indeed, a number of States that have declined so far to expand Medicaid are now, for

the first time, considering doing so, provided that their concerns regarding community engagement

are addressed. E.g., Virginia House Passes Medicaid Expansion, Sends to Senate, Washington Post (Apr. 17,

2018), Ex. A. In the end, the questions plaintiffs raise about community engagement “are not judicial.

They are issues to be resolved in Congress and at the polls.” CWRO, 348 F. Supp. at 497.

                                                   4
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 14 of 60



                                           BACKGROUND

I.      STATUTORY FRAMEWORK GOVERNING STATE MEDICAID PLANS

        Congress created the Medicaid program in 1965 by adding Title XIX to the Social Security

Act. The program authorizes federal funding to States to assist pregnant women, children, needy

families, the blind, the elderly, and the disabled in obtaining medical care. 42 U.S.C. § 1396a(a)(10).

To participate in the Medicaid program, a State must submit a plan for medical assistance for approval

by the Secretary. § 1396a(b). A State plan defines the categories of individuals eligible for benefits

and the specific kinds of medical services that are covered. §§ 1396a(10), (17). The plan must provide

coverage for the “categorically needy” and, at the State’s option, may also cover the “medically

needy.” 1 For each State with an approved plan, the Secretary provides matching federal funds for

certain State expenditures, as set forth in § 1396b.

        In 2010, Congress enacted the Affordable Care Act (“ACA”). 2 The ACA amended the

Medicaid Act to add an additional mandatory group, often called the “expansion population.” §§

1396a(a)(10)(A)(i)(VIII), (e)(14). The Secretary’s approval of a State plan that covers individuals falling

within the statute’s mandatory groups, including the expansion population under the ACA, or within

other population groups that the State has elected to cover under the Medicaid program, makes those

individuals eligible for Medicaid.

        The ACA “dramatically increases state obligations under Medicaid.” Nat’l Fed’n of Indep. Bus.

v. Sebelius, 567 U.S. 519, 575 (2012) (“NFIB”). While traditional Medicaid “requires States to cover



1
  “The categorically needy were persons whom Congress considered especially deserving of public
assistance because of family circumstances, age, or disability. States, if they wished, were permitted to
offer assistance also to the ‘medically needy’—persons lacking the ability to pay for medical expenses,
but with incomes too large to qualify for categorical assistance.” Schweiker v. Gray Panthers, 453 U.S.
34, 37 (1981) (footnote omitted).
2
  Patient Protection and Affordable Care Act, Pub. L. No. 111-148, 124 Stat. 119 (2010), as amended
by Health Care and Education Reconciliation Act of 2010, Pub. L. No. 111-152, 124 Stat. 1029.

                                                       5
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 15 of 60



only certain discrete categories of needy individuals—pregnant women, children, needy families, the

blind, the elderly, and the disabled,” the expansion requires participating States “to cover all individuals

under the age of 65 with incomes below 133 percent of the federal poverty line.” Id. at 575–76

(plurality). Before the ACA, many States covered adults with children only if their income was

considerably lower, and did not cover childless adults at all. See id. at 541–42. Under the ACA, millions

of childless adults—who are not blind, elderly, or disabled—are now eligible for Medicaid.

        Under NFIB, a State can choose whether to include the ACA’s “expansion population” in its

State plan. Id. at 575–87 (plurality). A State that elects not to do so would not receive the funding

that the ACA provided for that expansion population, but would continue to receive funding for its

traditional Medicaid population. See id. Kentucky has elected to cover the expansion population.

II.     THE SECRETARY’S SECTION 1115 AUTHORITY

        In 1962—before the Medicaid Act’s enactment—Congress enacted Section 1115 of the Social

Security Act to ensure that federal requirements did not “stand in the way of experimental projects

designed to test out new ideas and ways of dealing with the problems of public welfare recipients.” S.

Rep. No. 87-1589, at 19 (1962), as reprinted in 1962 U.S.C.C.A.N. 1943, 1961. To that end, Congress

gave the Secretary the authority to approve “any experimental, pilot, or demonstration project” that,

“in the judgment of the Secretary, is likely to assist in promoting the objectives” of the statute. 42

U.S.C. § 1315(a).    For such projects, the Secretary may waive “compliance with any of the

requirements of section … 1396a” in the Medicaid Act, and may approve waivers “to the extent and

for the period he finds necessary to enable such State or States to carry out [the demonstration]

project,” § 1315(a)(1). Separately, the Secretary may treat a State’s expenditures for an approved

demonstration project that otherwise would not qualify for federal matching funds, § 1396b, as

expenditures under the State plan that are eligible for federal financial assistance to the “extent and

for the period prescribed by the Secretary.” § 1315(a)(2)(A).

                                                     6
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 16 of 60



        The ACA added a new provision that calls for two periods of public comment on a State’s

application for approval of a Section 1115 project. The first is held at the State level before submission

of the waiver application, § 1315(d)(2)(A), and the second at the federal level, § 1315(d)(2)(C). The

comment periods must be “sufficient to ensure a meaningful level of public input,” §§ 1315(d)(2)(A)

& (C), but the statute imposes no additional requirement on the States or the Secretary to address

those comments, as might otherwise be required under a general rulemaking. Compare §§ 1315(d)(2)(A)

& (C), and 42 C.F.R. § 431.416, with 5 U.S.C. § 553(c) (providing that “agency shall give interested

persons an opportunity to participate in the rule making through submission of written data, views,

or arguments,” and “[a]fter consideration of the relevant matter presented,” provide “a concise general

statement of the[] basis and purpose” of the rules it adopts).

III.    CMS GUIDANCE L ETTER TO STATE MEDICAID DIRECTORS

        On January 11, 2018, CMS issued the SMD letter as guidance for States interested in pursuing

Section 1115 demonstration projects. AR 90–99. The letter “announc[ed] a new policy designed to

assist states in their efforts to improve Medicaid enrollee health and well-being through incentivizing

work and community engagement among non-elderly, non-pregnant adult Medicaid beneficiaries who

are eligible for Medicaid on a basis other than disability.” AR 90. To that end, CMS would “support

state efforts to test incentives that make participation in work or other community engagement a

requirement for continued Medicaid eligibility or coverage for certain adult Medicaid beneficiaries in

demonstration projects.” Id. Such projects “should be designed to promote better mental, physical,

and emotional health in furtherance of Medicaid program objectives.” Id. They are intended to give

states “more freedom to test and evaluate approaches to improving quality, accessibility, and health

outcomes in the most cost-effective manner.” AR 92.

        In addressing the benefits of community engagement, CMS explained that “a broad range of

social, economic, and behavioral factors can have a major impact on an individual’s health and

                                                    7
       Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 17 of 60



wellness, and a growing body of evidence suggests that targeting certain health determinants, including

productive work and community engagement, may improve health outcomes.” AR 91. Further,

“approved demonstration projects that promote positive health outcomes may also achieve the

additional goal of the Medicaid program to promote independence.” AR 93.

       CMS provided “a number of issues for states to consider” in developing demonstration

projects that encourage community engagement. AR 91–98. CMS identified the following relevant

factors, among others: the project’s alignment with other State welfare programs; the specific portion

of the Medicaid population that would be subject to any community-engagement requirements; and

considerations of budget neutrality, monitoring, and evaluation. Id.

IV.    KENTUCKY’S DEMONSTRATION PROJECT APPLICATION

       Kentucky submitted an application to the Secretary requesting waivers and expenditure

authorities under Section 1115(a) to implement KY HEALTH. 3 AR 5432–33. It proposed KY

HEALTH as “an innovative, transformative healthcare program” that sought “to evaluate new

policies and program elements designed to engage members in their healthcare and provide the

necessary education and tools required to achieve long term health and an improved quality of life.”

AR 5440.     The application emphasized the project’s primary purposes of “improv[ing] health

outcomes and overall quality of life” for all Kentucky Medicaid beneficiaries while ensuring “the long-

term fiscal sustainability of the program,” AR 5432, and strengthening Kentucky’s behavioral health

delivery system—which was “critical to addressing Kentucky’s substance abuse epidemic.” Id.

       The theory behind KY HEALTH is simple: Kentucky has one of the highest poverty rates in

the nation, with rates of drug-related fatalities and unemployment that are among the nation’s worst.



3
 KY HEALTH includes Kentucky HEALTH, a program “into which Kentucky will enroll adult
beneficiaries who do not qualify for Medicaid on the basis of a disability.” AR 2. Most portions of
KY HEALTH that plaintiffs challenge are part of Kentucky HEALTH. See AR 2–3.

                                                  8
       Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 18 of 60



AR 5432. Poverty in the Commonwealth has affected rates of drug use and HIV infection. AR 5438.

Kentucky predicted that increased costs of providing care to its Medicaid expansion population,

beginning 2017, would jeopardize its ability both to provide health care to traditional Medicaid

populations and to fund essential services like education and pensions. AR 5432, 5439–40. And

Kentucky’s existing delivery systems were ineffective and inefficient in achieving desirable health

outcomes. AR 5439. Kentucky thus developed a comprehensive reform project to test innovative

approaches to improve health and well-being in the Commonwealth while also ensuring the Medicaid

program’s long-term sustainability and coverage of the expansion population. AR 5432–33, 5440.

       Before submitting this application, Kentucky conducted a public comment period and three

public hearings in “geographically distinct areas of the state.” AR 5475. Kentucky collected over

1,300 comments and provided a detailed summary of them, along with its responses, in its waiver

application. AR 43–53, 5433, 5476, 5486, 5486–89 (providing “summary of waiver changes following

public comment”).

V.     THE SECRETARY’S APPROVAL OF KENTUCKY’S DEMONSTRATION PROJECT.

       On January 12, 2018, after conducting an additional public comment period, CMS approved

Kentucky’s application.   Among other things, the approval letter noted that CMS took public

comments into account as it worked with the Commonwealth to develop the special terms and

conditions of the approval (“STCs”), and that the approval was based on “specific state assurances”

concerning protections for Kentucky Medicaid beneficiaries.

       CMS found that KY HEALTH was likely to promote Medicaid objectives, and that the

waivers and expenditure authorities sought by Kentucky were needed and appropriate to carry out the

demonstration, AR 4, primarily because KY HEALTH: (1) is likely to improve health outcomes

through strategies that promote preventive care and substance use disorder (“SUD”) services, and

address certain health determinants, AR 4–5; (2) is likely to strengthen beneficiaries’ engagement in

                                                 9
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 19 of 60



their own health care and provide incentives for responsible decision-making in that regard, AR 5–6;

and (3) will remove potential obstacles for beneficiaries to transition to commercial coverage, AR 6–

7. CMS noted that KY HEALTH was designed to achieve these goals while also “ensur[ing]

vulnerable individuals like people with disabilities and pregnant women continue to receive medical

assistance.” AR 7.

VI.     THIS ACTION

        Plaintiffs raise nine claims. Count One challenges the SMD letter. Counts Two through Eight

assert that the Secretary acted arbitrarily or illegally in approving KY HEALTH. Count Nine asserts

a claim under the Take Care Clause of the U.S. Constitution, Art. II, § 3, cl. 5. Plaintiffs have moved

for summary judgment on Counts One through Eight. ECF No. 33.

                                               ARGUMENT

I.      SECTION 1115 VESTS THE SECRETARY WITH BROAD DISCRETION TO APPROVE STATE
        DEMONSTRATION PROJECTS.

        Start with the text of Section 1115:

        In the case of any experimental, pilot, or demonstration project which, in the judgment of the
        Secretary, is likely to assist in promoting the objectives of [the Medicaid Act] in a State or
        States—

        (1) the Secretary may waive compliance with any of the requirements of [§ 1396a], to the extent and
        for the period he finds necessary to enable such State or States to carry out such project.

42 U.S.C. § 1315(a) (emphasis added); see also § 1315(a)(2)(A).

        As many courts have recognized, this statutory language grants “broad power” and “wide

discretion” to the Secretary. 4 The “only limitation” on the Secretary’s authority under Section 1115 is



4
 C.K. v. New Jersey Dep’t of Health & Human Servs., 92 F.3d 171, 187 (3d Cir. 1996); Aguayo, 473 F.2d at
1104–05; Wood v. Betlach, 922 F. Supp. 2d 836 (D. Ariz. 2013); Phoenix Baptist Hosp. & Med. Ctr. v.
United States, 728 F. Supp. 1423, 1426 (D. Ariz. 1989), aff’d, 937 F.2d 452 (9th Cir. 1991); Ga. Hosp.
Ass’n v. Dep’t of Med. Assistance, 528 F. Supp. 1348, 1355 (N.D. Ga. 1982); Blue Cross Ass’n v. Califano,
473 F. Supp. 1047, 1067 (W.D. Mo. 1979), rev’d on other grounds, 622 F.2d 972 (8th Cir. 1980).

                                                    10
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 20 of 60



that he, in his judgment, be satisfied that the project is “likely to assist” in promoting the broad goals of

the pertinent chapter of the Social Security Act. Crane v. Mathews, 417 F. Supp. 532, 539 (N.D. Ga.

1976). The question is not whether the project is objectively likely to assist in promoting the statute’s

goals; it is whether the Secretary, in his judgment, determined that it is. “Congress has entrusted this

judgment to the Secretary and not to the courts.” Id. If a project might yield results that would suggest

necessary policies or statutory amendments, then the Secretary has wide latitude to approve waivers.

        Plaintiffs nevertheless assert that the statutory waiver authority is “narrow.” See, e.g., Pls.’ Mem.

1. But Section 1115(a) does not prescribe objective criteria; it hinges on the Secretary’s “judgment”

and the scope of waiver “he finds necessary.” That language creates unreviewable agency discretion.

At a minimum, it reinforces the narrow scope of any review and poses a “grave obstacle” to any

attempt to challenge the KY HEALTH waivers. Crane, 417 F. Supp. at 539.

         A.     The Section 1115 Determination Is Committed to Agency Discretion By Law.

        Under the Administrative Procedure Act (“APA”), final agency action is not subject to judicial

review if it is “committed to agency discretion by law.” 5 U.S.C. § 701(a)(2). This exception applies

where “statutes are drawn in such broad terms that in a given case there is no law to apply,” S. Rep.

No. 79-752, at 26 (1945), or where “a court would have no meaningful standard against which to judge

the agency’s exercise of discretion,” Heckler v. Chaney, 470 U.S. 821, 830 (1985).

        Section 1115(a)(1) commits the question of waiver to the Secretary’s unreviewable discretion.

It provides that when a demonstration project, “in the judgment of the Secretary,” is likely to assist in

promoting Medicaid’s objectives, “the Secretary may waive compliance” with the relevant statutes “to

the extent and for the period he finds necessary”—rather than what is necessary—“to enable such State

or States to carry out such project.” 42 U.S.C. § 1315(a)(1) (emphasis added). This language parallels

the statute at issue in Webster v. Doe, 486 U.S. 592 (1988), which “foreclose[d] the application of any

meaningful judicial standard of review.” Id. at 600, 603 (construing language allowing termination of

                                                     11
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 21 of 60



employee whenever the Director “shall deem such termination necessary or advisable in the interests

of the United States,” and concluding that the decision whether discharge was “necessary or advisable”

was “the Director’s alone” to make). The statute contemplates a subjective assessment, based on the

Secretary’s familiarity with statutory objectives and his policy and technical expertise, of whether a

project is likely to be useful in furthering Medicaid purposes and what waivers he finds necessary to

carry it out. “Thus, the statute does not provide an objective standard by which a court can assess”

the project; “instead, it expressly leaves that decision to the Secretary’s determination.” CC Distribs.,

Inc. v. United States, 883 F.2d 146, 153 (D.C. Cir. 1989); see also Lincoln v. Vigil, 508 U.S. 182, 193 (1993).

        To be sure, the Ninth Circuit has concluded that Section 1115(a) waivers are reviewable. Beno

v. Shalala, 30 F.3d 1057, 1067 (9th Cir. 1994). But that court brushed aside the statutory language

without explanation, see id. at 1066, and disregarded its own conclusion that “[t]he legislative history

of § 1315(a) also suggests that Congress intended to give the Secretary considerable discretion.” Id. at

1065 n.19 (citing Phoenix Baptist Hosp., 728 F. Supp. at 1426). In any event, the Ninth Circuit’s holding

was limited to whether a court may review the Secretary’s threshold judgment under Section 1115(a) that

a project is “likely to assist in promoting [Medicaid’s] objectives.” The court reasoned that its partial

(and incomplete) quotation of that phrase “provide[s] meaningful standards by which the Secretary’s

decision can be judged.” Id. at 1067. The Ninth Circuit expressly declined to address the separate

grant of discretion in Section 1115(a)(1), which authorizes the Secretary to waive compliance with

“any of the requirements” of the relevant statute “to the extent and for the period he finds necessary” to

enable the State to carry out “such project,” 42 U.S.C. § 1315(a)(1) (emphasis added). See Beno, 30

F.3d at 1072 (“[W]e need not … determine the precise meaning of § 1315(a)’s ‘extent and period’

language.”); Newton-Nations v. Betlach, 660 F.3d 370, 380 (9th Cir. 2011).

        So, even if one were to accept the premise that the threshold issue—whether the Secretary

made a judgment that a project supports the Medicaid Act’s objectives—is reviewable, the statute still

                                                      12
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 22 of 60



would preclude review of any challenge to the “extent” or the “period” of the waiver that the Secretary

“finds necessary to enable” the State “to carry out [its] project.” 42 U.S.C. § 1315(a)(1). The “extent”

and “period” language in Section 1115(a)(1) “refers to the scope and duration of the demonstration

project and identifies these as matters left to the Secretary.” Portland Adventist Med. Ctr. v. Thompson,

399 F. 3d 1091, 1098 (9th Cir. 2005); see also H.R. Rep. 87-1414, at 24 (1962) (“the Secretary would be

authorized to waive plan requirements to the extent he believes this action is necessary to carry out a

demonstration or experimental project”).

        B.      At a Minimum, the Secretary’s Determination is Owed Substantial Deference.

        Even if the Secretary’s determinations under Section 1115(a) were reviewable, the standard of

review should be exceedingly deferential. The D.C. Circuit has squarely held that the Secretary’s

approval of an amendment to a State Medicaid plan is entitled to Chevron deference. See Pharm. Research

& Mfrs. Am. v. Thompson, 362 F.3d 817 (D.C. Cir. 2004) (“PhRMA”). The court reasoned that the

comprehensive nature of the Secretary’s authority “to review and approve state Medicaid plans”

evidenced a congressional “intent that the Secretary’s determinations, based on interpretation of the

relevant statutory provisions, should have the force of law.” Id. at 822.

        The same deference is warranted here, as Congress expressly conferred on the Secretary

sweeping authority to evaluate and approve Medicaid demonstration projects. 42 U.S.C. § 1315(a)(1),

(a)(2). Congress provided that the determination whether “any experimental, pilot, or demonstration

project” is “likely to assist in promoting [Medicaid Act] objectives” be made “in the judgment of the

Secretary.” § 1315(a) (emphasis added). Through this “express delegation of specific interpretive

authority,” United States v. Mead, 533 U.S. 218, 229 (2001), Congress manifested its intent that the

Secretary’s interpretation of his Section 1115(a) authority should have the force of law. Congress also

implicitly granted the Secretary discretion to interpret “experimental, pilot, or demonstration project,”

as well as the “objectives” of the Medicaid Act. The familiar two-step framework of Chevron U.S.A.,

                                                   13
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 23 of 60



Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837, 842–43 (1984), therefore applies here. 5

        The Secretary is also owed deference for his predictive, discretionary judgments under Section

1115(a). The “distinction between the exercise of a particular condition as an ‘objective fact,’ on the

one hand, and an administrator’s determination of the existence of that condition, on the other, has

an ancient and honorable lineage.” Kreis v. Sec’y of the Air Force, 866 F.2d 1508, 1513 (D.C. Cir. 1989).

Where a statute “draw[s] a … distinction between the objective existence of certain conditions and

the Secretary’s determination that such conditions are present,” courts should use “an unusually

deferential application of the ‘arbitrary or capricious’ standard.” Id. at 1513, 1514. So even if “the

broad grant of discretion implicated here does not entirely foreclose review of the Secretary’s action,

the way in which the statute frames the issue for review does substantially restrict the authority of the

reviewing court to upset the Secretary’s determination.” Id. at 1514. See also Rural Cellular Ass’n v.

FCC, 588 F.3d 1095, 1105 (D.C. Cir. 2009) (“The ‘arbitrary and capricious’ standard is particularly

deferential in matters implicating predictive judgments.”).         The Secretary’s predictive judgment

involves his exercise of policy and scientific expertise to decide a question that Congress vested

squarely in his discretion—that is, a project’s likely research utility in furthering broader Medicaid

goals. Judicial deference is therefore at its apex.

II.     THE SECRETARY COMPLIED WITH ALL APA STANDARDS.

        The Secretary’s decision to grant certain waivers to enable Kentucky to carry out its

demonstration project met all APA standards. In deeming a demonstration project “likely to assist”

in promoting the objectives of the Medicaid Act, the Secretary is not held to standards of scientific

precision, nor is he required to make any findings. Rather, the statute calls upon him to review the



5
 The approval of the state’s application is an adjudication, and it is settled that an agency may elucidate
the meaning of a statute through adjudication. See, e.g., Heckler v. Ringer, 466 U.S. 602, 617 (1984); see
also City of Arlington v. FCC, 569 U.S. 290, 306 (2013).

                                                      14
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 24 of 60



project as a whole to “reach an overall ‘judgment’” as to the advisability of the demonstration project.

Aguayo, 473 F.2d at 1103; see C.K., 92 F.3d at 185) (upholding Section 1115 demonstration where

program purposes were likely to pursue statutory goals, “in the aggregate”). “Whether [the court]

would have been convinced by the State’s case if [it] had been in the Secretary’s shoes is immaterial.

‘The court is not empowered to substitute its judgment for that of the agency.’” Aguayo, 473 F. 2d at

1107 (quoting Citizens to Pres. Overton Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971), abrogated in part on

other grounds by Califano v. Sanders, 430 U.S. 99 (1977)).

        A.       KY HEALTH Is an “Experimental, Pilot, or Demonstration Project.”

        “Section 1115 of the Social Security Act … vests in the Secretary broad power to authorize

projects which do not fit within the permissible statutory guidelines of the standard public assistance

programs.” Crane, 417 F. Supp. at 539. Recognizing the virtues of federalism and the importance of

State demonstrations in formulating national policy, the Secretary has authorized waivers for wide-

ranging purposes. In the half-century since Medicaid’s enactment, States have used demonstrations

to expand coverage, change delivery systems, alter eligibility and benefits, impose cost-sharing, and

modify provider payments. Many States used demonstrations to transform Medicaid from a fee-for-

service program into a managed-care program—a dramatic change based largely on reducing Medicaid

program costs. 6 Section 1115 is a core structural feature of the Medicaid program, and its repeated

use for decades has shown time and again that “states are in the best position to design solutions that

address the unique needs of their Medicaid-eligible populations.” AR 3.

        As in those cases, CMS has explained that Section 1115 demonstrations “present an



6
 See Ex. B, KanCare (reform implemented to change to managed care delivery system); Ex. C, Hawaii
QUEST (same); Ex. D, Utah Primary Care Network (eliminating mandatory benefits and imposing
cost-sharing); Ex. E, Montana Basic Medicaid for Able-Bodied Adults (eliminating mandatory
benefits); Ex. D, Utah (imposing cost-sharing); Ex. F, Indiana (same); Ex. G, Maine Medicaid Section
1115 Health Care Reform Demonstration for Individuals with HIV/AIDS.

                                                      15
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 25 of 60



opportunity for states to institute reforms that go beyond just routine medical care,” propose “novel

approaches designed to promote Medicaid’s objectives,” and “demonstrate and evaluate state-specific

policy approaches to better serving Medicaid populations.” AR 114. In its waiver application, the

Commonwealth did just that. It proposed KY HEALTH as “an innovative, transformative healthcare

program” that sought “to evaluate new policies and program elements designed to engage members

in their healthcare and provide the necessary education and tools required to achieve long term health

and an improved quality of life.” AR 5440, 2. It outlined five broad goals for the program, AR 5447,

including to “improve members’ health and help them be responsible for their health”; to “[e]ncourage

individuals to become active participants and consumers of healthcare who are prepared to use

commercial health insurance”; to “[e]mpower people to seek employment and transition to

commercial health insurance coverage”; to “[i]mplement delivery system reforms to improve quality

and outcomes; and to “[e]nsure long-term fiscal sustainability.”     Id. Further, the Commonwealth

proposed detailed hypotheses to test for each program goal, AR 5447, 5516–19, and described the

methods it intended to use, and the data it would collect, to do so, AR 5516–19.

        CMS concluded that the project “will help inform future state demonstrations seeking to draw

on Kentucky’s novel approaches to Medicaid reform,” and emphasized the agency’s interest in

“learning from the outcomes of [the] demonstration project.” AR 1. The Special Terms and

Conditions (“STCs”) appended to the approval letter recognized the project’s “demonstration goals”

that would “inform the state’s evaluation design hypotheses.” AR 19–20. Among other things, steps

should be taken to “ensure that the necessary data is collected at the level of detail needed to research

the approved hypotheses” of the demonstration, AR 58–60; and Kentucky must publish an evaluation

design and provide interim and summative evaluation reports explaining its conclusions. Id. Thus,

far from being the sort of “simple benefits cut” at issue in Beno, 30 F.3d at 1069, KY HEALTH has a

research and experimental goal, and the Secretary reasonably determined that the project as a whole

                                                   16
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 26 of 60



is likely to yield useful information and demonstrate a novel approach to program administration.

        B.      Plaintiffs’ Claims Are All Based on a Fundamental Misunderstanding of the
                Purpose of Section 1115 Demonstrations and the Scope of KY HEALTH.

        Plaintiffs claim that the Secretary impermissibly sought to “transform or restructure Medicaid”

by approving KY HEALTH. Pls.’ Mem. 13. But Section 1115 is designed to allow States to be bold

by “test[ing] out new ideas and ways of dealing with the problems of public welfare recipients.” S.

Rep. No. 87-1589, at 19 (1962), as reprinted in 1962 U.S.C.C.A.N. 1943, 1961. Indeed, many States

tested innovative welfare-reform initiatives through demonstration waivers under Aid to Family and

Dependent Children (“AFDC”), leading Congress to incorporate these policies into the Personal

Responsibility and Work Opportunity Reconciliation Act (PRWORA) of 1996, the legislation that

replaced AFDC with the Temporary Assistance for Needy Families (TANF) program. Likewise,

Section 1115 demonstration projects that allowed States to implement managed care and benchmark

plans informed the addition of Section 1932 to the Social Security Act in the Balanced Budget Act of

1997, Pub. L. 105-33, 111 Stat. 251. And, after demonstration projects tested the efficacy of family-

planning services, the ACA adopted those into an optional eligibility group that States can include in

their plans, see 42 U.S.C. § 1396a(a)(10)(A)(ii)(XXI). See CWRO, 348 F. Supp. at 498 (“the co-payment

project is designed to collect data which may well be of significance both in the administration of the

present Medicaid program and in the process of proposing legislative modifications to it. As such,

the project meets the requirements imposed by § 1115”). Plaintiffs cannot explain how this history is

consistent with their erroneous view of the Secretary’s waiver authority; instead, they ignore it.

        Plaintiffs do not explicitly challenge the Secretary’s determination that the KY HEALTH

waivers were necessary, in scope and duration, to implement Kentucky’s proposal, perhaps because

they recognize this is a discretionary determination that Congress has committed to the Secretary’s

discretion. Instead, they cite a dictionary definition of “waive” to argue that Section 1115 does not

authorize the “restructuring of the Medicaid program via a state demonstration project approval.”
                                                   17
       Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 27 of 60



Pls.’ Mem. 15. This argument is a straw man. 7 The Secretary did not “fundamentally modify, amend,

or change statutory provisions.” Pls.’ Mem. 14. He did what Section 1115 expressly authorizes him

to do—waive compliance with specific provisions of § 1396a to the extent and for the period he found

necessary to implement Kentucky’s demonstration. AR 3, 13–15. The Secretary identified the waivers

he found necessary to implement the project, AR 13–16, and the expenditure authorities to enable the

Commonwealth to implement the demonstration, AR 11–12.                He limited those waivers and

expenditure authorities to the period for which he approved the demonstration—that is, from January

12, 2018, through September 30, 2023. AR 2, 11 & 13. And each of the requirements he waived is

found in § 1396a, consistent with the express grant of authority in Section 1115(a)(1).

       Plaintiffs’ principal grievance with KY HEALTH lies with the project’s community-

engagement requirements. They emphasize that Congress did not adopt “work requirements” in the

Medicaid Act itself. Pls.’ Mem. 18–21. But that is the point, as the central idea of Section 1115 is to

authorize the Secretary to waive certain provisions of the Medicaid Act. In any event, plaintiffs’

argument rests on the “work requirements” fiction that plaintiffs invoke throughout their brief. As

the approval letter and STCs emphasize, participation in general education, community service,

caregiving services, or substance abuse treatment satisfies the community-engagement requirement.

AR 42. The list is non-exhaustive, and “[p]articipation in any one or combination” of the qualifying

activities is permitted. Id. Thus, Congress’s adoption of “work requirements” in other statutory

programs, Pls.’ Mem. 20, in no way suggests that it foreclosed the Secretary from authorizing



7
  The case on which plaintiffs rely distinguishes itself. In MCI Telecomms. Corp. v. AT&T Co., 512 U.S.
218 (1994), the Court construed an agency’s authority to “modify” statutory requirements, which the
Court held did not authorize “basic and fundamental” changes. Id. at 225. Section 1115, by contrast,
grants the Secretary authority to “waive” provisions of the Medicaid Act in their entirety, not simply
to “modify” them. Recognizing the breadth of the waiver authority, Congress required that the
Secretary limit those waivers to the extent and time that he found necessary to implement the project.
42 U.S.C. § 1315(a)(1). There is no contention here that the Secretary violated that limit.

                                                  18
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 28 of 60



community-engagement provisions on an experimental basis under a Section 1115 waiver.

        Similarly, plaintiffs’ assertion that this is “the first time such a [work] requirement has been

permitted in the 50-year history of the Act,” Pls.’ Mem. 1, provides no basis to restrict the Secretary’s

authority to approve community-engagement requirements. Like any federal agency, HHS may apply

its authority flexibly and adapt its policies to the “changing needs” of the nation. See Am. Trucking

Ass’ns v. Atchison, Topeka & Santa Fe Ry. Co., 387 U.S. 397, 416 (1967). Here, the agency’s policy is

consistent with the “changing needs” of the nation. Many able-bodied adults are now covered under

the Medicaid expansion, and it make sense now for the Secretary to test whether community-

engagement requirement will achieve health benefits for these individuals, even if it there might not

have been a reason to do so before for the vulnerable individuals who were the focus of traditional

Medicaid. In any event, the point of Section 1115 is to test novel methods for implementing the

Medicaid program; if the statute only permitted the Secretary to test projects that have already been

tested, the statute would be meaningless. “[T]he Secretary, in [his] discretion, is allowed to change

[his] mind over time regarding the wisdom” of Medicaid requirements that incentivize work and other

forms of community engagement. C.K., 92 F.3d at 187.

        Plaintiffs further miss the mark in contending that Congress, by declining to adopt legislative

proposals to add work requirements to the Medicaid Act, somehow forbade the Secretary from

authorizing demonstration projects with community-engagement requirements through his Section

1115 authority. Pls.’ Mem. 18–21. “Congressional inaction lacks persuasive significance because

several equally tenable inferences may be drawn from such inaction, including the inference that the

existing legislation already incorporated the offered change.” Consumer Elecs. Ass’n v. FCC, 347 F.3d

291, 299 n.4 (D.C. Cir. 2003) (internal citation omitted). Here, Congress could easily have so inferred,

given that it was aware that State-level demonstrations could be useful for making future policy choices

and evaluating potential national reforms. CWRO, 348 F. Supp. at 497. Plaintiffs are also mistaken

                                                   19
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 29 of 60



that Congress ratified the prior Administration’s views on community-engagement provisions. Pls.’

Mem. 21. Section 1115 has not been re-enacted or amended since the prior Administration announced

its views, and Congress could not have ratified those views through legislative silence. See Pub. Citizen,

Inc. v. U.S. Dep’t of Health & Human Servs., 332 F.3d 654, 668–70 (D.C. Cir. 2003); see also Cape Cod

Hosp. v. Sebelius, 630 F.3d 203, 214 (D.C. Cir. 2011)).

        C.       The Secretary Properly Judged Kentucky’s Demonstration to Be “Likely to
                 Assist in Promoting” Medicaid “Objectives.”

        Contrary to plaintiffs’ assertion, Congress nowhere specifically defined the “objectives” of the

Medicaid Act. CWRO, 348 F. Supp. at 494. But courts often look to the Act’s appropriation section

as a source from which statutory purposes can be inferred. See 42 U.S.C. § 1396-1. That section

authorizes Congress to appropriate funds:

             •   to furnish “medical assistance on behalf of families with dependent children and of
                 aged, blind, or disabled individuals, whose income and resources are insufficient to
                 meet the costs of necessary medical services,” and

             •   to furnish “rehabilitation and other services to help such families and individuals attain
                 or retain capability for independence or self-care,”

             •   “[f]or the purpose of enabling each State” to accomplish those goals “as far as
                 practicable under the conditions in such State.” Id.

Those are some purposes of the Medicaid Act, but they are not the Act’s sole purposes; indeed, the

appropriations section itself contemplates other purposes in the Act. See id. (sum appropriated must

be “sufficient to carry out the purposes of this subchapter” (emphasis added)). The Act’s overarching

purpose, of course, is to promote public health and well-being. The funds made available under

§ 1396-1 are a means to that end. And other provisions in “this subchapter” illuminate the meaning

of the “as far as practicable under the conditions in such State” qualification in § 1396a-1, and highlight

that the Act also takes considerations of efficiency and economy into account.                See, e.g., id.

§§ 1396a(a)(4)(A), (a)(24), (a)(42)(B)(ii)(IV); § 1396b(a)(2)(A).


                                                    20
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 30 of 60



        The determination whether a demonstration project “is likely to assist in promoting the

objectives” of Medicaid, § 1315(a), does not depend on any one factor, but instead rests on the

Secretary’s “overall judgment” of how the competing goals of the program might best be served.

        That judgment could rationally be made with respect to a project which was directed to
        promoting one of several objectives, even if another objective would suffer by reason of the
        project’s operation, so long as the Secretary concluded that on balance the objectives considered
        together were likely to be advanced. It is not necessary to find that one project will promote
        all the objectives in order to sustain the Secretary’s approval of it.

CWRO, 348 F. Supp. at 497; see also Aguayo, 473 F.2d at 1103. Here, CMS found four factors to be

relevant to its evaluation of KY HEALTH, including whether the proposed demonstration was likely

to assist in improving health outcomes, would address behavioral and social factors found to influence

health outcomes, and would incentivize beneficiaries to engage in their own health care in a way that

could have the effect of achieving better health outcomes. AR 4. CMS also considered whether the

Commonwealth’s proposal would equip beneficiaries with the knowledge and tools to more easily

transition from Medicaid coverage to commercial coverage. Id. Based on a reasoned consideration

of these factors, the Secretary made the “overall judgment” that KY HEALTH is “designed to

empower individuals to improve their health and well-being,” AR 7, and is likely to assist in promoting

Medicaid objectives. Specifically, he found that the project, if successful in its objectives, would:

        •   “improve health outcomes, promote increased upward mobility and improved quality of
            life,”

        •   “increase individual engagement in health care decisions,”

        •   “prepare individuals who transition to commercial health insurance coverage to be
            successful in this transition,”

        •   “ensure vulnerable individuals like people with disabilities and pregnant women continue
            to receive medical assistance,” and

        •   “lessen[] dependence on government assistance and promot[e] individual self-sufficiency,”
            and thereby “help[ing] to promote the fiscal sustainability of the program to better protect
            services for the Commonwealth’s most vulnerable.”


                                                   21
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 31 of 60



AR 7. Each of these goals is premised on improving health outcomes, while balancing the objectives

of providing coverage and ensuring that States are able to manage their healthcare costs efficiently and

in a way that protects services for the most vulnerable populations. These outcomes unquestionably

promote the purposes of the Medicaid Act, and “[i]t is impossible to deny that attainment of these

goals, or even some of them, would meet the test of [Section 1115].” Aguayo, 473 F.2d at 1105; see

C.K., 92 F.3d at 185 (program purposes were likely to pursue statutory goals, “in the aggregate”).

        D.      Plaintiffs’ Interpretation of Medicaid Objectives Is Inconsistent with the
                Statutory Language.

        In an attempt to evade the deference owed to the Secretary’s reading of the Medicaid Act,

plaintiffs (erroneously) contend that Congress “expressly defined” Medicaid’s objectives in § 1396-1,

and they argue that the Secretary tried to “rewrite” those objectives by approving KY HEALTH. The

only “rewriting” here is by plaintiffs. They repeatedly ellipt portions of § 1396-1 that undermine their

case. The Secretary properly applied the full statutory language, rather than plaintiffs’ set of snippets.

        First, plaintiffs excise the phrase “under the conditions in such State,” 42 U.S.C. § 1396-1,

which demonstrates that State budgetary and administrative concerns are necessarily a part of

Medicaid’s purposes. See, e.g., Pls.’ Mem. 4, 16. This key statutory qualification is conspicuously absent

from plaintiffs’ brief. And the “conditions in” the Commonwealth cannot be ignored. Kentucky has

one of the highest poverty rates in the nation, with rates of drug-related fatalities and unemployment

that are among the nation’s worst. AR 5432. Kentucky’s existing delivery systems were ineffective in

achieving desirable health outcomes. AR 5439. The Commonwealth also predicted that costs of

providing care to Kentucky’s Medicaid expansion population would jeopardize its ability to provide

health care to the traditional Medicaid population, as well as other essential services. AR 5432, 5439–

40. It noted that the Commonwealth could not “afford the cost of the Medicaid expansion program

without this demonstration waiver.” AR 5440. The Commonwealth thus developed its project to test

innovative approaches to improve its residents’ health and well-being in a way that ensured the
                                                   22
       Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 32 of 60



Medicaid program’s long-term sustainability.    AR 5432–33, 5440. The Secretary concluded that if

improved use of SUD and preventive services indeed resulted in a lower overall cost of care for

Medicaid-eligible populations (as hypothesized), the project may have the additional benefit of

enabling the Commonwealth to “stretch its Medicaid resources as far as possible.” AR 5.

        Second, plaintiffs repeatedly replace the phrase “on behalf of families with dependent children

and of aged, blind, or disabled individuals,” 42 U.S.C. § 1396-1, with “[individuals],” suggesting that

the “medical assistance” goal applies equally to the expansion population. (Indeed, their brief contains

no reference whatsoever to this critical language.) This rewriting stretches the statute to its breaking

point. Had Congress wanted to add “adults who are eligible on grounds other than disability” to

§ 1396-1, it would have done so when it enacted the Medicaid expansion. But § 1396-1, as written,

applies explicitly to the traditional Medicaid population, while the community-engagement initiative

applies, in large part, to the expansion population, with specific exemptions for the primary caregiver

of a dependent, the medically frail, the disabled, and other vulnerable groups.

        That is sensible.   While a community-engagement initiative would make little sense for

vulnerable low-income individuals likely to need medical assistance, there is nothing irrational in

requiring able-bodied adults who are capable of performing community service, working, or going to

school to do so as a condition of Medicaid eligibility. The requirement is not about penalizing Medicaid

beneficiaries, as plaintiffs suggest. It is about promoting public health by encouraging members of

the expansion population to engage in behaviors associated with healthy outcomes. That beneficiaries

may satisfy the community-engagement requirement by seeking substance-abuse treatment illustrates

that point. AR 42.

        The community-engagement initiative also promotes § 1396-1’s goal of providing “medical

assistance” to the traditional Medicaid population by allowing the Commonwealth to focus more of

its finite resources on that population. See Pls.’ Mem. 7, 16. The ACA expansion “placed able-bodied

                                                  23
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 33 of 60



adults into a program designed for vulnerable populations who were more likely to require long-term

care under Medicaid,” AR 5437, making the Commonwealth’s Medicaid program fiscally

unsustainable. Kentucky thus sought to promote a pathway out of welfare dependence for certain

adults to focus its finite resources on its more vulnerable, traditional Medicaid population.

        Plaintiffs cannot evade the statutory focus on vulnerable populations by invoking what they

describe as the ACA’s goal to increase the number of individuals covered by Medicaid. See, e.g., Pls.’

Mem. 10 & 15. The place to look for Medicaid’s “objectives” is the Medicaid Act, not the ACA. Cf.

Pension Benefit Guar. Corp. v. LTV Corp., 496 U.S. 633, 645–46 (1990) (courts cannot require agency “to

take explicit account of public policies that derive from federal statutes other than the agency’s

enabling Act”); C.K., 92 F.3d at 184–85. In any event, the goals of the project are consistent with the

ACA’s goals. Although plaintiffs call it a simple benefits cut, KY HEALTH is not designed to

withdraw health insurance coverage from vulnerable people. Rather, it is designed (in part) to help

people transition, or graduate, to commercial coverage. Giving more people access to commercial

health care coverage is a central goal of the ACA. See, e.g., 42 U.S.C. § 18031. The ACA’s goal is not

to keep people dependent on government programs throughout their lives.

        Third, in their initial discussion of Medicaid’s “stated purpose,” see Pls.’ Mem. 7, plaintiffs edit

out the phrase “to help such families and individuals attain or retain capability for independence or

self-care,” 42 U.S.C. § 1396-1, language which emphasizes Congress’s intent that the Medicaid

program help vulnerable individuals and provide a safety net—not serve as a permanent welfare

program. When the red-penciled language is restored, it shows that the purpose of providing

“rehabilitative or other services” applies to the vulnerable populations identified in the previous clause,

as evidenced by its reference to “such families and individuals.” Id. And given that “independence”

and “self-care” are express congressional objectives for “aged, blind, or disabled individuals,” the

Secretary certainly acted well within his discretion to conclude that they are appropriate goals for the

                                                    24
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 34 of 60



able-bodied individuals that Congress added through the ACA’s expansion.

        Plaintiffs quote the omitted language elsewhere in their brief, but fail to meaningfully address

the Secretary’s explanation that KY HEALTH requirements encouraging “upward mobility” and

“greater independence” would lead to improved “health and wellness” and “improved health

outcomes.” AR 4. Quite the opposite, plaintiffs selectively cite portions of the approval letter to

suggest that the Secretary’s approval turned only on goals of “financial independence” and the

“transition to commercial market coverage.” Pls.’ Mem. 7, 17. But the letter addresses these goals as

an additional benefit—a desirable side effect—of the primary goal of promoting health and well-being.

AR 5 (“In addition to promoting improved health outcomes … the demonstration may also promote individual

independence and reduce reliance on public assistance by creating incentives for individuals to obtain

and maintain coverage through private, employer-sponsored insurance.” (emphasis added)).

        Plaintiffs’ reading of the statutory objectives fails to give effect to all the language. By contrast,

the Secretary’s construction gives effect to the full text of § 1396-1, and is supported by the statutory

context and purpose. His reading of the scope of his authority under Section 1115 is at least

reasonable, and merits deference. See City of Arlington, 569 U.S. at 296 n.4.

III.    THE CLAIMS CHALLENGING INDIVIDUAL COMPONENTS OF KY HEALTH ARE NON-
        JUSTICIABLE AND NON-REVIEWABLE , AND FAIL ON THEIR MERITS.

        In an attempt to evade the deference owed to the Secretary’s “overall judgment” under

Section 1115(a), plaintiffs slice KY HEALTH into individual components in Counts Two through

Seven to demand, in essence, that every aspect of the project be “necessary” in terms of a goal that

they regard as legitimate. These claims fail at the outset because the question of what waivers are

“necessary” is vested in the Secretary’s discretion. See supra Part I(A); cf. Portland Adventist Med. Ctr.,

399 F. 3d at 1098 (§ 1315(a)(1) “refers to the scope and duration of the demonstration project and

identifies these as matters left to the Secretary”). Once the Secretary has judged a project to satisfy



                                                     25
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 35 of 60



Section 1115(a)’s general standard, Section 1115(a)(1) broadly authorizes him to waive “any of the

requirements of section … 1396a,” to the extent and for the period he finds necessary to implement

the project. 42 U.S.C. § 1315(a)(1) (emphasis added). Here, having concluded that the project was

likely to promote Medicaid objectives, the Secretary properly exercised his discretion by identifying

the specific waivers he found necessary to implement the project, AR 13–16, as well as the expenditure

authorities to enable the Commonwealth to implement the project, AR 11–12, and limiting the waivers

to the period for which he approved the demonstration.

        Further, although it is axiomatic that “a plaintiff must demonstrate standing for each claim he

seeks to press and for each form of relief that is sought,” Davis v. FEC, 554 U.S. 724, 734 (2008),

plaintiffs merely speculate about potential future injuries they might incur as a result of the approval,

and thus lack standing to challenge any of the individual waivers granted by the Secretary.

        And at all events, Counts Two through Seven fail on their merits, as they are founded on the

erroneous premise that each component of the project independently must merit approval under

Section 1115 standards. The statute simply does not countenance such a “myopic analysis.” Wood,

922 F. Supp. 2d at 843. Viewing the project as a whole, the Secretary’s grant of waivers was amply

supported by record evidence and was not arbitrary or capricious.

        A.      The Claims Fail on Their Merits Because the Secretary’s Evaluation of the
                Project as a Whole Complied With all APA Standards.

        In Counts Two through Seven, plaintiffs splinter KY HEALTH into distinct components in

an attempt to impose an atextual and unrealistic obligation on the Secretary. Plaintiffs would have the

Secretary determine how each particular component of any demonstration project, standing alone, has

independent experimental value in promoting Medicaid objectives. But that is not what the statute

requires. Section 1115 directs the Secretary to evaluate the “experimental, pilot, or demonstration

project” and to determine whether, “in the judgment of the Secretary, [it is] likely to assist in promoting

the objectives” of the Medicaid Act. 42 U.S.C. § 1315(a) (emphasis added). The statute thus calls
                                                    26
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 36 of 60



upon the Secretary only to “reach an overall ‘judgment’” as to the advisability of permitting a

demonstration project. Aguayo, 473 F.2d at 1103. It does not require that each individual program

component, standing alone, have experimental value and promote broader Medicaid goals.

        For good reason.       “Medicaid programs are complex and shaped by a diverse set of

interconnected    policies and components, including           eligibility   standards, benefit designs,

reimbursement and payment policies, IT systems, and more.” AR 3–4. The unavoidable result of

plaintiffs’ argument is that “any provision of a larger demonstration project could be challenged as

not independently warranting approval under Section 1115, notwithstanding the provision’s

relationship to and interaction with the project as a whole.” Wood, 922 F. Supp. 2d at 843. Here, the

record makes clear that each component is interconnected with the demonstration’s broader goals and

design. 8 In evaluating the project as a whole, the Secretary carefully considered the utility of each

challenged component in promoting the overall project goals. See supra Part II(C).

        B.       Plaintiffs Lack Standing to Pursue Counts Two through Seven.

        Even if plaintiffs’ challenges to the Secretary’s individual waivers (as opposed to the approval

of the project as a whole) were reviewable, plaintiffs would need to show that they have “suffered an

‘injury in fact’ that is (a) concrete and particularized and (b) actual or imminent, not conjectural or

hypothetical,” and that is fairly traceable to the challenged action, with respect to each claim. Sabre,

Inc. v. U.S. Dep’t of Transp., 429 F.3d 1113, 1117 (D.C. Cir. 2005). Plaintiffs fail to show that they will

be harmed by any waiver that they challenge in Counts Two through Seven, because “[a]llegations of

possible future injury do not satisfy the requirements of Art[icle] III ….” Whitmore v. Arkansas, 495


8
  See, e.g., AR 2 (explaining that the My Rewards Account, Deductible Account, and community-
engagement requirement together serve to educate beneficiaries of and incentivize them to engage in
healthy behaviors); id. at 5–6 (explaining that the My Rewards Account, waiver of retroactive eligibility,
and non-eligibility period for failure to complete redetermination together will encourage beneficiaries’
engagement in their personal health plan and incentivize better decision-making); id. at 6–8 (explaining
the features that together will remove barriers to beneficiaries’ transition to commercial coverage).

                                                    27
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 37 of 60



U.S. 149, 158 (1990); see also Susan B. Anthony List v. Driehaus, 134 S. Ct. 2334, 2341 (2014) (standing

based on future harm only where the “threatened injury is certainly impending, or there is a ‘substantial

risk’ that the harm will occur.”) (internal citation omitted). Plaintiffs’ fears of future injuries do not

satisfy these standards but instead depend on “an attenuated chain of possibilities.”           In re Sci.

Applications Int’l Corp. Backup Tape Data Theft Litig. (“SAIC”), 45 F. Supp. 3d 14, 24 (D.D.C. 2014).

        Community Engagement Requirements.       Plaintiffs assert that KY HEALTH’s community-

engagement component injures them because they “are at risk of losing their Medicaid coverage when

they cannot find or maintain work.” Pls.’ Mem. 11. This assertion fails to consider (1) the different

ways in which plaintiffs can fulfill the community-engagement requirement and (2) the various

exemptions to the requirement.

        First, Kentucky provides a non-exhaustive list of qualifying activities that can be performed in

combination. They include job skills training, job search activities, education, training, community

services, “[c]aregiving services for a non-dependent relative or other person[s] with a disabling medical

condition,” and participation in treatment for substance-abuse disorders. AR 42. Several of plaintiffs’

declarations, on their face, show that those plaintiffs will easily meet the requirement. E.g., Ballinger

Decl. ¶ 4, ECF No. 33-5 (“I am a full-time student and caregiver to my children.”). 9

        Second, the claims hinge on conjecture about Kentucky’s future exemption determinations.

The Commonwealth has not yet decided who qualifies as “medically frail” and is thus exempt from

numerous project requirements. See AR 84. Indeed, multiple plaintiffs concede that they may receive



9
  See Hatcher Decl. ¶ 4, ECF No. 33-9 (“I am a full-time student ….”); Allen Decl. ¶ 3, ECF No. 33-
13 (“I recently started working full-time ….”); Kobersmith Decl. ¶ 9, ECF No 33-6 (“Currently, I
work 20 hours a week steadily.”); Kasey Decl. ¶ 10 (“I am trying hard to find a job ….”); Branham
Decl. ¶ 9, ECF No. 33-4 (“spending many hours per week caring for my ill grandfather and attending
outpatient substance abuse disorder services”); Radford Decl. ¶ 9, ECF No. 33-17 (“I might be able
to count the hours I spend taking care of my grandmother and the volunteer work I do.”); Woods
Decl. ¶ 3, ECF No. 33-11 (“I work as a cleaning specialist” and “take care of [grandchild] full-time.”).

                                                   28
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 38 of 60



such exemptions. E.g. Bennett Decl. ¶ 8 (“I might be able to have this waived if I can prove that I am

medically frail …”); Spears Decl. ¶ 9, ECF No. 33-14 (“I may be able to get a medically frail exemption

…”). Among others to be exempted are “former foster care youth, pregnant women, primary

caregivers of a dependent,” “beneficiaries diagnosed with an acute medical condition that would

prevent them from complying with the requirements,” and “full time students.” AR 85, 42.

        What is more, Kentucky will adjust, or exempt certain areas of the State from, the community-

engagement requirement, where it finds “limited economies and/or educational opportunities” and

“lack of public transportation … so that the community engagement requirements will not be

impossible or unreasonably burdensome for beneficiaries to meet.” AR 86. And individuals will “be

deemed” to satisfy the community-engagement requirement if they (1) satisfy work requirements

under Supplemental Nutrition Assistance Program (SNAP) or Temporary Assistance for Needy

Families (TANF), or are exempt from those requirements; (2) are enrolled in the state’s Medicaid

employer premium assistance program, or are the spouse or dependent of someone who is enrolled

in the program; or (3) are employed for 120 hours or more a month (for this final category, individuals

need not “actively document their participation in qualifying activities”). AR 85.

        Moreover, even assuming that plaintiffs will not be exempt from, or deemed to meet, the

community-engagement requirement, they fail to show that they will not have a “good cause” in failing

to comply. AR 44. Plaintiffs’ asserted fears about losing Medicaid coverage would materialize, if at

all, only if (1) they fail to engage in any of the wide array of qualifying activities for the required hours;

(2) they fail to demonstrate good cause for their inability to meet the requirement; (3) Kentucky does

not exempt them from the requirement (or deem them exempted); and (4) Kentucky does not find

their geographic area to lack economic, educational, and public transportation opportunities that

would warrant adjusting the requirement. Plaintiffs fail to show that a “substantial probability” that

this confluence of events will occur, Amer. Petroleum Inst. v. EPA, 216 F.3d 50, 63 (D.C. Cir. 2000), and

                                                     29
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 39 of 60



the Court should not “endorse standing theories that rest on speculation about the decisions of

independent actors.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 414 (2013).

        Premium Requirements. KY HEALTH’s premium requirements do not apply to those who are

medically frail, pregnant, or former foster care youth. AR 25–26. Only one plaintiff, David Roode,

establishes that he is substantially likely not to be found exempt on the basis of medical frailty, but

even he does not establish whether he would be exempt on another basis and therefore fails to

establish with substantial certainty that he would be subject to the premium requirements.

        Non-Emergency Use of the Emergency Department. Here, plaintiffs merely speculate that they may

someday go to a hospital’s emergency department for what Kentucky deems to be a non-emergency

purpose. E.g., Stewart Decl. ¶ 10, ECF No. 33-2 (“If I go to the emergency room, and Medicaid

doesn’t think it was an emergency, they will deduct $20 from my My Rewards account.”); see also Kasey

Decl. ¶ 11; Ballinger Decl. ¶ 15; Bennett Decl. ¶ 10. But (1) “[t]he beneficiary must receive an

appropriate medical screening examination … before their My Rewards dollars can be deducted”; (2)

Kentucky “will ensure that hospitals comply” with federal requirements to “educat[e] beneficiaries

about appropriate alternative settings” before making My Rewards account deductions for non-

emergency use of the emergency department; and, (3) the deductions from My Rewards accounts “will

be waived for any beneficiary” who calls the “24-hour nurse hotline prior to utilizing the hospital

emergency department.” AR 34–35. Plaintiffs’ feared deductions from My Rewards dollars—which

plaintiffs have not even earned—are based on an attenuated and hypothetical chain of events.

        “Lockouts.” Again, plaintiffs merely speculate that they may be unable to complete their

redetermination process by the end of their eligibility period or report changes in circumstances that

affect their eligibility and, thus, be disenrolled from Medicaid. See Woods Decl. ¶ 8, ECF No 33-10

(“If we do not comply with this reporting requirement, or fail to recertify on time, we will lose

Medicaid.”); see also Allen Decl. ¶ 8; Spears Decl. ¶ 9. But there is no reason to suppose that plaintiffs

                                                   30
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 40 of 60



cannot comply with the requirement, and, in any event, plaintiffs would be exempt from the non-

eligibility period if they are deemed medically frail, are pregnant, or are former foster care youth, or if

Kentucky grants them a good-cause exception. AR 28–31; see SAIC, 45 F. Supp. 3d at 24. 10

        Waivers of Retroactive Coverage. Once more, plaintiffs present only attenuated possibilities. Each

plaintiff is currently covered by Medicaid, so this waiver could only become an issue if their coverage

were terminated. And any fears of disenrollment are speculative, as explained above. See SAIC, 45 F.

Supp. 3d at 24; e.g., Radford Decl. ¶ 9 (“If I get cut off, and have to reapply, there will be a gap in my

coverage.”); Penney Decl. ¶ 12, ECF No. 33-16; Roode Decl. ¶ 7.

        Waiver of Non-Emergency Medical Transportation. Here, too, the only two plaintiffs who assert an

injury fail to show with sufficient certainty that they (1) would be subject to the waiver—which applies

to the “new adult group” and exempts the medically frail and pregnant women, among others, AR

32—and (2) would need to use non-emergency medical transportation. McComas Decl. ¶ 10, ECF

No. 33-8; Spears Decl. ¶ 12; see also Kansas Corp. Comm’n v. FERC, 881 F.3d 924, 930 (D.C. Cir. 2018).

        Because plaintiffs fail to show a cognizable injury from any of the individual waivers that they

challenge, it follows that they lack standing to challenge the demonstration project as a whole. 11

        C.      The Secretary’s Approval of KY HEALTH Was Not Arbitrary or Capricious.

        Plaintiffs attempt to convert the grant of statutory authority in Section 1115(a)(1) into a



10
   Plaintiffs’ assertions that they will need to report “any” changes in income within ten days appear
incorrect. See Ballinger Decl. ¶ 5; Hatcher Decl. ¶ 12; Woods Decl. ¶ 8. They cite a Kentucky
regulation requiring a recipient to report a change “which may affect eligibility,” Pls.’ Mem. 34 (citing 907
Ky. Admin. Regs 20:010 (emphasis added)), and Kentucky’s plan notes that “[d]isenrollment will be
limited to circumstances in which the failure to report a change affected eligibility,” AR 30. But there
is no reason to suppose that moderate fluctuations in income would constitute a change in
circumstance necessarily triggering the reporting requirement.
11
   Kentucky has suggested that plaintiffs have a redressability problem because the Commonwealth
will unwind its Medicaid expansion if KY HEALTH is invalidated. Indeed, Kentucky’s approach
presents redressability concerns because in the end, the federal courts cannot provide plaintiffs with
relief from a state budget shortfall that results in the contraction of the Medicaid program.

                                                     31
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 41 of 60



stringent limitation—akin to a “least restrictive alternative” test. They also suggest that the Secretary

must recite and refute every objection submitted in opposition to a proposed waiver—under which

the courts may second-guess nearly every respect in which the demonstration project has effects that

might have been lessened or prevented by a different design. But none of the cases cited by plaintiffs

support such an approach, and indeed, no court has restricted the Secretary’s waiver authority in that

way. See, e.g., C.K., 92 F.3d at 185 (“[W]e … decline to find in Beno v. Shalala a rule that in all cases an

administrative record is deficient and must be supplemented where it does not contain a specific

recitation and refutation of objections submitted in opposition to a proposed section 1315(a)

waiver.”); see also Aguayo, 473 F.2d at 1107 (Section 1115 “does not require that, before the Secretary

approves an experiment, every I must be dotted and every t crossed.”).

        Moreover, plaintiffs’ claims must be assessed in light of the fact that this is not a permanent

program change but a demonstration project of limited duration. It is “critical” to consider the project’s

experimental nature, and the fact that the agency’s decision involves a commitment to monitor the

project’s results. See Consumer Fed’n of Am. v. Consumer Prod. Safety Comm’n, 990 F.2d 1298, 1307 (D.C.

Cir. 1993); United Tel. Workers, AFL-CIO v. FCC, 436 F.2d 920, 923–24 (D.C. Cir. 1970); see also Aguayo,

473 F.2d at 1103 (administrator may set “lower threshold for persuasion” when evaluating

experimental project of limited duration). “The Secretary cannot be held to standards of scientific

precision in that testing process. … While the conclusions he draws from such experiments may not

stand the test of science, they nevertheless may be useful in making the decisions he is called upon to

make.” CWRO, 348 F. Supp. at 498. Only if objections to the project show such results “as to negate

any appreciable possibility of success would the Secretary’s approval be arbitrary and capricious.”

Aguayo, 473 F.2d at 1107.

        Here, CMS reviewed all the comments it received in evaluating whether the project as a whole

is likely to assist in promoting Medicaid objectives, and whether the waiver and expenditure authorities

                                                    32
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 42 of 60



sought were necessary and appropriate to implement the demonstration. AR 7–8. “To help determine

whether the demonstration is meeting its goals of improving quality, accessibility, and health

outcomes, Kentucky will submit, for CMS comment and approval, a draft evaluation design with

implementation timeline.” AR 9. Further, CMS noted that it would “work with Kentucky to ensure

that the comments received also inform the monitoring and evaluation design and … provide for

program adjustments when necessary.” AR 9. CMS also reserved the right to modify or terminate

the waivers “at any time it determines that continuing [them] would no longer be in the public interest

or promote the [statutory] objectives.” AR 24. See Aguayo, 473 F.2d at 1106 (“Secretary could properly

give weight to the fact that the programs were of limited duration and would remain under the ongoing

supervision (with the power to terminate approval) of [CMS].”). Plaintiffs’ scattershot objections to

CMS’s conclusions all lose sight of the basic fact that this is a demonstration project, geared to

assessing the efficacy of new approaches to health-policy issues. The evaluation whether the project

succeeds in its aims is, itself, a legitimate objective. See id.

        State Assurances about Protections for Beneficiaries.   Plaintiffs insist that the Secretary failed to

consider the impact of the demonstration on Medicaid beneficiaries. These claims have no basis in

the record, which shows that the Secretary’s approval of KY HEALTH was the product of lengthy

negotiations with the Commonwealth on the efficacy of proposed program components. During its

careful, 16-month-long evaluation, CMS requested multiple “guardrails” and “state assurances” to

protect beneficiaries. AR 1536–41 (responses to CMS’s concerns about lockouts, premiums, non-

emergency medical transportation, and community engagement); AR 1754–56 (CMS’s testing of

lockout scenarios); AR 1777–79 (CMS’s concerns or requests for state assurances regarding

community-engagement, lockout, and premium requirements, including good-cause exemption for

failure to pay premiums); AR 1794–95 (proposed guardrails and assurances regarding KY HEALTH’s

premium and lockout components). Further, although plaintiffs raise various concerns that potential

                                                       33
       Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 43 of 60



administrative costs and difficulties will prevent the project from improving beneficiaries’ health, see

Pls.’ Mem. 23, 24 n.12, 32, 39, the Secretary considered such concerns and required that the

Commonwealth “ensure the availability of adequate resources for implementation and monitoring of

the demonstration,” AR 24.

        Health Benefits of Community Engagement. Plaintiffs admit that CMS’s “evidence suggests a

positive correlation between volunteering and health, and it indicates that certain gainful employment

and increased earnings can improve health.” Pls.’ Mem. 24. But they nonetheless argue that the

Secretary erred by concluding that the community-engagement requirement could promote Medicaid

objectives. Plaintiffs’ objections lose sight of the fact that the project is an experiment, whose exact

results neither the Commonwealth nor the Secretary purports to know in advance. See, e.g., Pls.’ Mem.

25 (complaining that “CMS provides no evidence that work requirements actually improve income or

long-term employment, much less that they do so in a manner that leads to improved health

outcomes” (emphasis added)). Here, the Secretary made a factual conclusion, based on his predictive

judgment and policy expertise, that the requirement would encourage activities that research has

shown to lead to improved health and wellness, and would thus promote health, upward mobility,

greater independence, and improved quality of life. AR 4. Further, he concluded that requiring

community engagement was necessary to create an effective incentive, as voluntary referrals to

employment services, which other states had already tested, had not been strong enough incentives to

influence behavior. AR 4–5. And so he determined that suspending eligibility for individuals who fail

to satisfy the community-engagement requirement, coupled with “on-ramps” to allow individuals to

quickly regain access, could create sufficient incentives to generate the desired improvements to

beneficiaries’ health. AR 4. The Secretary thus concluded that these incentives will likely promote

“Medicaid’s objective of improving beneficiary health,” AR 5, and the project will test multiple

hypotheses to that end. AR 6. The extent to which these hypotheses are accurate will be addressed

                                                  34
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 44 of 60



in the evaluation of the experiment, but plaintiffs attempt to beg the question by assuming at the

outset that recipients will not respond to the incentives by engaging in qualifying activities. 12

        Incentives for Compliance with Program Requirements. CMS concluded that evidence tying behaviors

to health outcomes supports the rationale that the demonstration’s various incentives—includ ing

rewards accounts, eligibility suspensions for failure to meet reporting requirements or comply with

the redetermination process, and the waiver of retroactive eligibility—will promote Medicaid’s

objectives.   AR 6. Further, the incentives could achieve the “additional goals” of encouraging

responsive utilization of services, promoting continuity of care, and improving program integrity. AR

6. CMS noted that the impact of incentives, which include suspension, disenrollment, and on-ramps,

“will be assessed through an evaluation designed to measure how the demonstration affects eligibility,

behavior, and health outcomes over time for persons subject to the demonstration’s policies.” AR 5.

        In Count Five, plaintiffs challenge the Secretary’s waivers to permit the Commonwealth to

impose “lockouts”—that is, disenrollment with a specified non-eligibility period, as a penalty for

beneficiaries who fail to timely comply with program requirements for reporting material changes in

circumstances and completing the re-determination process. See Pls.’ Mem. 34–36. But, tellingly,

plaintiffs neglect to address the program’s “on-ramp” that enables individuals “to regain eligibility and

successfully access all of the benefits, resources, and tools of the KY HEALTH program, without



12
  For example, plaintiffs contend that evidence about voluntary employment and community service
does not prove that the same benefits would necessarily be realized from requiring those activities in
order to receive Medicaid benefits. Pls.’ Mem. 24. This supposed distinction is illusory; after all, many
people work because they are required to do so in order to achieve a desired end (such as a
paycheck). Although plaintiffs cite an article that they contend has found that community-
engagement requirements are harmful., Pls.’ Mem. 24 n.13 (citing article at AR 5112–5368), that
article’s actual conclusion is that “Overall, the beneficial effects of work outweigh the risks of work,
and are greater than the harmful effects of long-term unemployment or prolonged sickness
absence.” AR 5119. In any event, the Secretary acted well within his discretion in allowing Kentucky
to test whether those who respond to the incentive for community engagement will enjoy similar
health benefits.

                                                    35
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 45 of 60



waiting until the end of the non-eligibility period.” AR 7. Nor do they discuss the program’s good-

cause exemptions, or the exemptions for the medically frail and other vulnerable populations. AR 7.

        Further, plaintiffs are wrong to argue that “[n]othing in the record” indicates that CMS

considered evidence that these policies would reduce coverage and access to health services. Pls.’

Mem. 35; AR 9 (noting that CMS and Kentucky responded to those comments by including on-ramps

for affected beneficiaries); AR 5487–89 (listing the changes Kentucky made to its original proposal in

response to public comments). And, although plaintiffs brush off the goal of preserving “program

integrity,” the Secretary acted reasonably in crediting the Commonwealth’s explanation why incentives

are needed to “dissuade members from failing to timely report changes.” AR 5413; id. at 7 (concluding

that the non-eligibility period “ensures that resources are preserved for individuals who meet eligibility

requirements” and that the timely completion of redeterminations and reporting requirements are

“fundamental safeguards for purposes of program integrity”).            Similarly, plaintiffs’ arguments

challenging the premium requirements merely expound on their fears that premiums will deter

enrollment in KY HEALTH. Pls.’ Mem. 30–33. These arguments presume what they set out to

prove—that the KY HEALTH experiment will fail—and are outside of this Court’s review.

        In Count Seven, plaintiffs take issue with the Secretary’s waiver to permit the Commonwealth

to limit non-emergency medical transportation (“NEMT”). See id. at 39–41. But this waiver was based

on the Secretary’s evaluation of the Commonwealth’s conclusion that the expansion population, unlike

the traditional population, did not need or use NEMT. AR 5478. Plaintiffs’ claims amount to nothing

more than their disagreement with the Secretary’s factual conclusions and predictive judgments

concerning the potential efficacy of the program’s incentives. See, e.g., id. at 36 (“E]ven assuming that

Medicaid enrollees do need help preparing for commercial insurance, the lockouts would not provide

that preparation.”); id. (“Nothing suggests that Kentucky has a particular problem with program

integrity or that the lockouts would remedy such a problem.”). Ascertainment by actual demonstration

                                                   36
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 46 of 60



whether these claims are true is itself a legitimate objective. See Aguayo, 473 F.2d at 1106.

        Results of Prior Demonstrations. The approval of these incentives hardly represents a sea change

in the Administration’s position, as plaintiffs suggest. In its waiver application, the Commonwealth

noted that “most of the features of Kentucky HEALTH” had been approved in other State

demonstrations, AR 5433, 5437, and the results of the other demonstrations informed Kentucky’s

project design.   For example, during the last Administration, CMS approved a provision for

suspension of coverage for Indiana’s demonstration known as HIP 2.0. Ex. F. That project permitted

the State to impose disenrollment and a non-eligibility period for beneficiaries with income over the

federal poverty level who fail to pay their premiums, as an incentive to promote program compliance.

See also Ex. E, Montana Health and Economic Livelihood Partnership (HELP) Program (adopting

provisions permitting disenrollment for failure to pay premiums for beneficiaries with incomes up to

150 percent of the federal poverty level through § 1315(a)(2) authority); Ex. H, Wisconsin Badger Care

(adopting a three-month disenrollment period). Waivers of retroactive coverage, too, have been

approved, across Administrations. 13     And Indiana’s HIP 2.0 demonstration, among other State

demonstrations, included a waiver of NEMT for the new expansion population. See also Ex. K,

Healthy Michigan; Ex. P, Iowa Wellness Plan.

        The Secretary reasonably concluded that these policies were worth testing and were likely to

assist in promoting the objectives of the Medicaid program. The Court should decline plaintiffs’

invitation to substitute their judgment—or the Court’s—for that of the Secretary.




13
  See Indiana HIP 2.0 (Ex. F); Delaware Diamond State Health Plan (Ex. I); Montana Basic Medicaid
for Able-Bodied Adults (Ex. E); Oklahoma SoonerCare (Ex. J); Healthy Michigan (Ex. K); Arkansas
Safety Net Benefit Program (Ex. L); New Hampshire Health Protection Program Premium Assistance
(Ex. M); Tennessee TennCare II (Ex. N); Oregon Health Plan (Ex. O).

                                                   37
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 47 of 60



        D.      Each Challenged Element of the KY HEALTH Demonstration Is Consistent
                With the Secretary’s Section 1115(a)(1) Waiver Authority.

        Plaintiffs argue that the Secretary acted beyond his statutory authority by “waiv[ing]

requirements not found in § 1396a” in approving KY HEALTH—specifically, requirements

concerning premiums, NEMT, retroactive coverage, and cost-sharing for non-emergency use of

hospital emergency departments. Pls.’ Mem. 13. But the Secretary’s determination that the waivers

fall within his authority is correct, and at a minimum is entitled to Chevron deference.

                1.      The Secretary’s Waiver of Premium Requirements Is Consistent with
                        His Authority to Waive “Any of the Requirements” of 42 U.S.C. § 1396a.

        Section 1396a specifies numerous requirements with which State Medicaid plans must comply,

including the conditions specified in 83 separate provisions of subsection (a).            See 42 U.S.C.

§§ 1396a(a)(1)–(83). As relevant here, subsection (a)(14) requires that a State plan “provide that

enrollment fees, premiums, or similar charges, and deductions, cost sharing, or similar charges, may be

imposed only as provided in section 1396o ….” § 1396(a)(14) (emphasis added). Section 1396o, in

turn, sets forth the requirements for the two categories of charges identified in § 1396a(a)(14)—that

is, “enrollment fees, premiums, or similar charges,” and “deductions, cost sharing, or similar charges.”

Section 1396o-1 describes certain exceptions to § 1396o.

        Here, the Secretary exercised his authority to waive § 1396a(a)(14), “insofar as” that condition

“incorporates” §§ 1396o or 1396o-1, “[t]o the extent necessary to enable Kentucky to require monthly

premium payments ….” AR 14. Plaintiffs contend that the Secretary’s authorization of premium

requirements is outside the scope of his authority. Pls.’ Mem. 26–29. Plaintiffs concede, as they must,

that the Secretary has the authority to waive § 1396a(a)(14), Pls.’ Mem. 26, but argue that this authority

does not extend to waiving the premium requirements of §§ 1396o and 1396o-1, id. at 26–29. But no

plausible reading of the statutory text, context, or history supports, let alone compels, this conclusion.

        To begin, the Secretary indisputably has authority to waive § 1396a(a)(14), which requires State

                                                   38
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 48 of 60



plans to comply with § 1396o. 14 Such a waiver necessarily means that a State plan need not comply

with § 1396o—the authority to waive § 1396a(a)(14) would be meaningless if State plans were still

required to comply with § 1396o despite the Secretary’s waiver. By placing the requirement to comply

with § 1396o in § 1396a(a)(14) and authorizing the Secretary to waive “any of the requirements of …

1396a,” Congress clearly authorized the Secretary to waive compliance with § 1396o. Plaintiffs’

interpretation would strip § 1396a(a)(14) from the scope of Section 1115’s waiver authority. 15

        Moreover, contrary to plaintiffs’ contention, § 1396o(f) confirms that the Secretary has authority

to waive compliance with premium requirements in § 1396o by virtue of his authority to waive

§ 1396a(a)(14). Plaintiffs argue that the waiver provision in § 1396o(f) for cost-sharing charges would

be superfluous “if the Secretary could use Section 1115 to waive the requirements in Section 1396o,”

and they contend that the inclusion of § 1396o(f) demonstrates Congress’s intent to exclude any

comparable authority to waive § 1396o’s distinct premium requirements. Pls.’ Mem. 27.

        Both arguments fail for the same basic reason: they are based on the erroneous premise that

§ 1396o(f) contains a specific grant of authority to waive § 1396o’s cost-sharing requirements. In fact,

§ 1396o(f) does not grant any waiver authority; it limits the Secretary’s Section 1115 waiver authority

with respect to cost-sharing charges, and in so doing presumes that Section 1115’s waiver authority


14
   Plaintiffs acknowledge that courts have upheld the Secretary’s authority to waive premium
requirements of § 1396a(a)(14). Pls.’ Mem. 28–29 (citing Crane, 417 F. Supp. at 538–40; CWRO, 348
F. Supp. 491. But plaintiffs attempt to distinguish those cases by pointing to the subsequent legislative
enactments that added §§ 1396o and 1396o-1. These cases are still good law, however, and no court
has held them to be superseded. Plaintiffs’ reliance on dicta in Pharmaceutical Research & Manufacturers
of America v. Thompson, 251 F.3d 219 (D.C. Cir. 2001), is likewise misplaced. There, the court read 42
U.S.C. § 1396r-8 not to authorize the Secretary to approve a demonstration in which manufacturers
would pay rebates for drugs purchased by non-Medicaid beneficiaries. The court did not address the
distinct question, presented here, whether the Secretary can permit a state to impose premiums on
certain beneficiaries through a waiver of § 1396a(a)(14).
15
   Plaintiffs contend that § 1396a(a)(14)’s use of the phrase “only as provided in 1396o” somehow
shows that Congress intended to place all premiums outside the Secretary’s Section 1115 authority.
Pls.’ Mem. 27. But this ignores that Congress authorized the Secretary to waive any of the provisions
in § 1396a, including § 1396a(a)(14)’s “only as provided in” language.

                                                   39
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 49 of 60



extends to § 1396o. Section 1396o(f) does not say that the Secretary “may waive” § 1396o’s

requirements for cost-sharing charges. Instead, its language is prohibitory, providing that “no [such]

charge may be imposed under any waiver authority … unless such waiver” complies with specified

conditions. 42 U.S.C. § 1396o(f). This prohibitory language would be unnecessary if the Secretary’s

Section 1115 waiver authority did not extend to § 1396o in the first place, as plaintiffs contend.

        Furthermore, § 1396o(f) does not limit the waiver authority with respect to State plan

requirements for “enrollment fees, premiums, or similar charges”—which are the only charges at issue

here. By its terms, § 1396o(f) only restricts the waiver authority with respect to the requirements for

the other category of charges addressed in § 1396a(a)(14): “deductions, cost sharing, or similar charges.”

Thus, § 1396o(f) shows that (1) Congress recognized that the Secretary’s Section 1115 waiver authority

extends to § 1396o, and (2) Congress knew how to limit that authority but did not do so for § 1396o’s

premium requirements (as opposed to the cost-sharing requirements).

        The Secretary’s waiver authority also extends to § 1396o-1. Although, as plaintiffs note,

§ 1396a(a)(14) does not expressly reference § 1396o-1, there was no need for Congress to include such

a reference because § 1396o-1 is simply an exception to § 1396o. See § 1396o-1(a)(1) (“Notwithstanding

sections 1396o and 1396a(a)(10)(B) of this title … a State … may impose premiums and cost sharing

…”). The Secretary’s authority to waive compliance with § 1396o thus necessarily includes the

authority to waive compliance with § 1396o-1. Any doubt on that score is dispelled by § 1396o-

1(b)(6)(B), which provides that “[n]othing in this section shall be construed … as affecting the

authority of the Secretary through waiver to modify limitations on premium and cost sharing under

this section.” Congress thus expressly provided in the text of § 1396o-1 itself that the Secretary has




                                                   40
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 50 of 60



authority “through waiver to modify limitations on premium and cost sharing under [§ 1396o-1].” 16

        Nor does the statutory or legislative history support plaintiffs’ interpretation. Contrary to

plaintiffs’ telling, see Pls.’ Mem. 28–29, §§ 1396o and 1396o-1 were not targeted at restricting the

Secretary’s waiver authority in any respect; rather, they were primarily intended to provide another

way by which States can “exceed the normal limitations” on Medicaid cost-sharing. See Newton-Nations,

660 F.3d at 375. Indeed, the House Committee Report cited by plaintiffs shows that the 1982

amendments adding § 1396o were designed primarily to provide greater flexibility to the States to

impose cost-sharing, in light of the increased State interest in doing so. H.R. Rep. 97-757, pt. 1, at 6

(1982) (noting that “a large number of States have sought” Section 1115 waivers to impose cost-

sharing, and that the bill would “give[] States sufficient flexibility” to impose cost-sharing even in the

absence of a Section 1115 waiver). And § 1396o-1, which provides exceptions to § 1396o, “further

relaxes the normal cost-sharing restrictions.” Newton-Nations, 660 F.3d at 375.

        The Secretary reads §§ 1396a(a)(14), 1396o, and 1396o-1 together as part of a comprehensive,

coherent, and consistent regulatory scheme that achieves Congress’s purposes with respect to State

flexibility to impose premiums while preserving the Secretary’s authority to waive premium

requirements. This reading is correct or, at the least, is a permissible one that merits Chevron deference.

See City of Arlington, 569 U.S. at 296 n.4. At most, plaintiffs’ alternative reading points to “internal

tension” among different provisions in the Act that point “in divergent ways”—but in such a case,

“Chevron dictates that a court defer . . . to the agency’s expert judgment about which interpretation fits

best with, and makes the most sense of, the statutory scheme.” Scialabba v. Cuellar de Osorio, 134 S. Ct.

2191, 2203 (2014) (plurality); accord id. at 2219–20 & n.3 (Sotomayor, J., dissenting).


16
  Because the Secretary has authority to waive compliance with both § 1396o and § 1396o-1, there is
no “absurd result” under the Secretary’s interpretation. Pls.’ Mem. 29. If anything, plaintiffs’ worry
about an “absurd result” further supports the Secretary’s authority to waive compliance with § 1396o-
1 despite the absence of an express reference to § 1396o-1 in § 1396a(a)(14).

                                                    41
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 51 of 60



                2.      The Secretary Properly Construed Other § 1396a Requirements.

        Plaintiffs’ statutory challenges to other individual waivers also fall short of the showing needed

to overcome the deference owed to the Secretary’s interpretations.

        Non-Emergency Use of the Emergency Room.         Count Four turns on plaintiffs’ assertion that

“deductions” from rewards account balances should be deemed “cost-sharing” charges subject to

statutory cost-sharing limits. This argument is inconsistent with the definition of “cost-sharing,”

which refers to payments made as a condition for receiving particular services or benefits. See 42

C.F.R. §§ 447.51–447.54. The My Rewards account permits beneficiaries to “earn incentives” in the

form of non-monetary credits to access demonstration-specific benefits funded through the

Section 1115(a)(2) expenditure authority, or optional benefits that the state could have opted not to

provide even if KY HEALTH were not approved, see AR 33. KY HEALTH does not impose a charge

on beneficiaries to access those benefits, but specifies the terms on which the project itself will advance

earned incentives to the beneficiaries. And the credits have no cash value; rather an arbitrary dollar

value is assigned to the credits that beneficiaries may redeem to receive certain optional or

demonstration-only benefits, see AR 33. Indeed, in a paragraph titled “No Actual Charges to

Beneficiaries,” the STCs cite the State’s assurance that “at no time would a beneficiary be required to

make a monetary payment to the state as a result of having a negative dollar balance in his or her My

Rewards Account,” AR 35. The Secretary’s interpretation of what might constitute a “deduction” or

“co-payment” within the meaning of the statute, as well as his interpretation of his own regulations,

are entitled to deference. See AR 34 (“As the My Rewards Account deduction is not a copayment, the

amount is not subject to the limitations in 42 C.F.R. § 447.54(b).”).

        Waiver of Retroactive Coverage.   In Count Six, plaintiffs assert a puzzling challenge to the

Secretary’s waiver of the retroactive-coverage requirement. It is not clear how their assertion that the

Secretary “lacks authority to waive retroactive coverage” can be squared with their admission that the

                                                    42
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 52 of 60



Secretary has authority to waive § 1396a(a)(34)’s retroactive-coverage requirement. See Pls.’ Mem. 37.

They appear to argue that the authority to waive this provision is at odds with other Medicaid

requirements, which plaintiffs contend cannot be waived. This argument would nullify the Secretary’s

authority to waive § 1396a(a)(34), and Section 1115(a)(1)’s textual commitment of discretion to the

Secretary to waive “any of the requirements” of § 1396a that he believes necessary means that it is not

up to plaintiffs to say which provisions should or should not have been waived. 17 But even if there

were “internal tension” because different provisions point “in divergent ways,” as plaintiffs seem to

contend, the Secretary’s interpretation warrants deference. See Scialabba, 134 S. Ct. at 2203 (plurality).

IV.     THE CHALLENGE TO THE SMD L ETTER IS NON-JUSTICIABLE AND O UTSIDE THE
        SCOPE OF REVIEW UNDER THE APA, AND FAILS ON ITS MERITS IN ANY EVENT.

        In Count One, plaintiffs seek extraordinarily broad relief with respect to “practices”

purportedly “authorized” in the SMD letter. This claim fails for multiple reasons. To begin, plaintiffs

cannot show that the letter caused them any redressable injury-in-fact. Second, the letter is not a final

agency action subject to APA review; rather, it merely announced CMS’s policy position concerning

community-engagement requirements, and sought to provide guidelines for States considering

applying for approval of a demonstration project. 18 In all events, Count One fails on its merits.

        To begin, Plaintiffs cannot show an injury that is fairly traceable to the letter. Their asserted

injuries stem from CMS’s approval of Kentucky’s demonstration project, not the letter. See Util. Air

Regulatory Grp. v. EPA, 320 F.3d 272, 278 (D.C. Cir. 2003). Nor would the relief they request—a

declaration that the letter violated the APA—redress those asserted injuries, because they cannot show


17
   In any event, plaintiffs’ argument is beside the point because the Secretary indisputably has authority
to waive § 1396a(a)(10) to the extent it requires retroactive coverage, and the other provision they cite,
§ 1396d(a), is merely definitional and sets forth no obligation to provide retroactive coverage.
18
    Plaintiffs’ request for broad injunctive relief preventing defendants from carrying out any
conceivable version of the practices discussed in the letter is also unreviewable under the APA, which
provides no relief for the “broad, programmatic” attack upon which plaintiffs’ claim is based. See
Norton v. Southern Utah Wilderness All., 542 U.S. 55, 64 (2004).

                                                   43
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 53 of 60



that, in the absence of the letter, CMS would not have approved Kentucky’s demonstration project.

See, e.g., Nat’l Multi Hous. Council v. Jackson, 539 F. Supp. 2d 425, 431–32 (D.D.C. 2008) (because the

challenged guidance “by its own terms does not create any new obligations … the relief plaintiffs seek

would not redress their claimed injury”). Plaintiffs thus lack standing to bring Count One.

        Nor does Count One challenge any final agency action, as would be required under 5 U.S.C.

§ 704. A final agency action is one (1) that marks the “consummation of the agency’s decisionmaking

process” and (2) by which “rights or obligations have been determined, or from which “legal

consequences will flow.” Bennett v. Spear, 520 U.S. 154, 177–78 (1997) (citation omitted). The D.C.

Circuit also looks to factors such as whether the “agency had taken a definitive legal position

concerning its statutory authority,” whether “the case presented a purely legal question of statutory

interpretation,” and whether “the agency’s letter imposed an immediate and significant practical

burden” on the agency. CSI Aviation Servs., Inc. v. U.S. Dep’t of Transp., 637 F.3d 408, 412 (D.C. Cir.

2011) (citation omitted). General statements of policy are, categorically, not final agency actions that

are subject to review under the APA. See Nat’l Min. Ass’n v. McCarthy, 758 F.3d 243, 251 (D.C. Cir.

2014). A general statement of policy is defined as “[a]n agency action that merely explains how the

agency will enforce a statute or regulation—in other words, how it will exercise its broad enforcement

discretion or permitting discretion under some extant statute or rule ….” Id. at 252.

        The SMD letter does not mark either the “consummation” of the agency’s decisionmaking

process, nor is it a decision from which “legal consequences flow.” Rather, as a general statement of

policy, the letter merely (1) “announc[ed] a new policy” to “support state efforts to test incentives that

make participating in … community engagement a requirement for continued Medicaid eligibility or

coverage for certain adult Medicaid beneficiaries in demonstration projects authorized under section

1115 of the Social Security Act,” and (2) “describe[d] considerations for states that may be interested

in pursuing demonstration projects” that seek for “Medicaid beneficiaries to participate in work and

                                                   44
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 54 of 60



community engagement activities.” AR 90. See Nat’l Min. Ass’n, 758 F.3d at 251.

        Rather than “consummat[ing]” the decision-making process through the letter, CMS will

evaluate a specific state’s proposal before any changes may go into effect. As the letter notes, “[e]ach

state is different,” and “CMS will evaluate each demonstration project application on its own merits”

and respond to the comments submitted during each demonstration project’s required notice and

comment period.       AR 93.     In this case, no final agency action was taken until Kentucky’s

demonstration plan was approved, and that action can be evaluated through plaintiffs’ several claims

attacking that decision. The D.C. Circuit’s “long-standing practice in circumstances like this is to

require the complaining party to challenge the specific implementation of the broader agency policy.”

Fund for Animals, Inc. v. U.S. Bureau of Land Mgmt., 460 F.3d 13, 22 (D.C. Cir. 2006).

        Nor does the letter impose any legal consequences on, or require any action of, the States, let

alone on plaintiffs. Rather, the letter guides States that wish to prepare demonstration projects with

community-engagement components.           See Reliable Automatic Sprinkler Co. v. Consumer Prod. Safety

Comm’n, 324 F.3d 726, 732 (D.C. Cir. 2003) (“No legal consequences flow from the agency’s conduct

…, for there has been no order compelling [the regulated party] to do anything.”). When “the practical

effect of the agency action is not a certain change in the legal obligations of a party, the action is non-

final for the purposes of judicial review.” Nat’l Ass’n of Home Builders v. Norton, 415 F.3d 8, 15 (D.C.

Cir. 2005).

        Plaintiffs cite portions of the letter that purportedly set forth binding criteria. But the cited

statements do not impose new legal obligations on States; rather, they simply remind States to comply

with existing laws or requirements. E.g., AR 95 (“States are required … to comply with all applicable

federal civil rights laws ….”); AR 97 (“States will be subject to other monitoring and reporting

requirements, consistent with regulations ….”).

        The excerpts in which CMS states what it is looking for in a successful demonstration project

                                                    45
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 55 of 60



do not describe legal obligations. Rather, they describe the agency’s policy views on the kinds of

demonstration projects that may further the aims of Medicaid. See AR 94 (“Individuals enrolled in

and compliant with a TANF or SNAP work requirement, as well as individuals exempt from [those]

requirement[s], must automatically be considered to be complying with the Medicaid work

requirements.”); AR 94–95 (“States must also create exemptions for individuals determined by the

state to be medically frail and should also exempt … any individuals with acute medical conditions …

that would prevent them from complying with the requirements.”). This statement does not, in any

event, detract from the precatory nature of the letter as a whole. Compare with Appalachian Power Co. v.

EPA, 208 F.3d 1015, 1023 (D.C. Cir. 2000) (guidance document was final agency action where “[t]he

entire Guidance, from beginning to end—except the last paragraph—reads like a ukase.”).

        Moreover, the letter did not bind the agency in its subsequent approval of Kentucky’s

demonstration project. See Am. Hosp. Ass’n v. Bowen, 834 F.2d 1037, 1057 n.4 (D.C. Cir. 1987). First,

CMS characterizes the letter as nonbinding guidance. AR 90. See Nat’l Min. Ass’n, 758 F.3d at 252.

Second, CMS did not cite the letter as the source of legal authority for its approval of Kentucky’s

demonstration project, but rather permissibly referred back to its guidance in explaining the reasoning

behind its policy decision to allow for States to submit proposed demonstration projects with

community-engagement requirements. 19 See id. The Secretary’s approvals of the Kentucky project,

and of other States’ projects, are supported “just as if the [SMD letter] had never been issued,” because



19
   Plaintiffs’ reliance on CMS’s approval of Arkansas’s and Indiana’s demonstration projects is
misplaced. In both cases, the approvals noted in passing that each State’s demonstration project
conformed with the guidance provided in the SMD letter before delving into pages of analysis on how
each State’s project was specifically likely to assist in promoting Medicaid’s objectives, in accordance
with Section 1115. See (Ex. Q, Letter from Seema Verma, Admin., Ctrs. for Medicare & Medicaid
Servs., U.S. Dep’t of Health and Human Servs., to Cindy Gillespie, Dir., Ark. Dep’t of Human Servs.
(Mar. 5, 2018); Ex. R, Letter from Demetrios Kouzoukas, Dep. Admin., Ctrs. for Medicare & Medicaid
Servs., U.S. Dep’t of Health and Human Servs., to Allison Taylor, Medicaid Dir., Ind. Family and
Social Servs. Admin. (Feb. 1, 2018).

                                                   46
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 56 of 60



the agency specifically analyzes each state’s demonstration project to determine whether approval

under section 1115 is proper. See Nat’l Mining Ass’n, 758 F.3d at 253.

        To be sure, it is possible for documents styled as letter guidance to amount to final agency

action if they have independently binding and legally consequential effect. See Barrick Goldstrike Mines

Inc. v. Browner, 215 F.3d 45, 48 (D.C. Cir. 2000). Here, however, “there has been no “‘order compelling

the regulated entity to do anything.’” Nat’l Min. Ass’n , 758 F.3d at 253 (quoting Indep. Equip. Dealers

Ass’n v. EPA, 372 F.3d 420, 428 (D.C. Cir. 2004)). “[T]he document itself would [not] be given any

weight at all in [subsequent] proceedings.” Molycorp, Inc. v. EPA, 197 F.3d 543, 546 (D.C. Cir. 1999),

because the authority for the demonstration project flows from Section 1115, not the letter.

        Even if the letter amounted to final agency action and plaintiffs’ asserted injuries could be

properly redressed by the relief they seek, Count One fails on the merits. First, for the same reasons

that the letter was not final agency action, it was not a legislative rule, and did not need to go through

notice and comment. “General statements of policy” are exempt from notice-and-comment unless

another statute provides otherwise, 5 U.S.C. § 553(b)(3)(A), and no statute does so here. The letter

“compels action by neither the recipient nor the agency” and thus cannot be a legislative rule. Holistic

Candlers & Consumers Ass’n v. FDA, 664 F.3d 940, 944 (D.C. Cir. 2012). Indeed, CMS’s actions would

not bind a State unless and until the State submitted a proposed demonstration project, which is

subject to certain public notice procedures, further demonstrating why the preceding letter

announcing a policy shift is not subject to those procedures. See 42 C.F.R. §§ 431.408(a)(1), (3).

        Second, the letter plainly survives arbitrary-and-capricious review. Contrary to plaintiffs’

argument, Pls.’ Mem. 43–44, the letter extensively explains why community-engagement provisions

promote the Medicaid Act’s purposes. Plaintiffs contend that CMS’s “complete repudiation of its

longstanding position” on community engagement shows that the agency did not engage in reasoned

decisionmaking. Pls.’ Mem. 45–46 (citing FCC v. Fox Television Stations, Inc., 556 U.S. 502 (2009)). But

                                                   47
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 57 of 60



Fox held that a change in agency policy is not subject to “more searching review” than a policy that is

adopted in the first instance. Id. at 515. Rather, it is generally enough for the agency to “display

awareness that it is changing its position” and that “there are good reasons for the new policy.” Id.

The letter does both; it communicates up front that CMS’s acceptance of State demonstration projects

with community-engagement components is a “shift from prior agency policy regarding work and

other community engagement as a condition of Medicaid eligibility or coverage,” AR 92, and relies on

multiple studies demonstrating a relationship between productive work and community engagement

and positive health outcomes, AR 91.

        An agency “need not demonstrate to a court’s satisfaction that the reasons for the new policy

are better than the reasons for the old one; it suffices that the new policy is permissible under the

statute, and there are good reasons for it, and that the agency believes it to be better.” Fox, 556 U.S. at

514 (emphasis in original); see also Otsuka Pharm. Co. v. Price, 869 F.3d 987, 1001 (D.C. Cir. 2017)

(“Agencies . . . can change their interpretations provided that they acknowledge and explain the change

and the new position is otherwise permissible.”). Here, the letter describes the agency’s policy view

that it would be better to support demonstration projects that will help it determine whether

community-engagement programs lead to better health outcomes, and provides reasoning to support

this conclusion. 20 See N. America’s Bldg. Trades Unions v. OSHA, 878 F.3d 271, 303 (D.C. Cir. 2017).

CMS’s reasoning is detailed and goes beyond what Fox requires. AR 92.


20
  Plaintiffs rely on Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117 (2016), for the proposition that
CMS “failed to discharge [its] duty to explain why [it] deemed it necessary to overrule their previous
position on work requirements.” Pls.’ Mem. 45 (quoting id. at 2126). But in Encino, “decades of
industry reliance on the Department [of Labor]’s prior policy” and the fact that the agency “said almost
nothing” about the “‘good reasons for the new policy’” led the Court to find the agency’s explanation
for its new rule insufficient. Encino, 136 S. Ct. 2127 (quoting Fox, 556 U.S. at 515). Here, however,
the ACA’s creation of the Medicaid expansion population went into effect only in 2014, which means
that any relevant reliance interests—and it is by no means clear that there are any such interests here—
are much shorter-lived than those in Encino. More to the point, CMS explained the “good reasons for
the new policy” in substantive detail. See Fox, 556 U.S. at 515.

                                                    48
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 58 of 60



        Finally, it was not arbitrary for the letter to cite studies that predated past CMS decisions

denying certain components of demonstration projects that sought to impose work requirements. See

Nat’l Ass’n of Home Builders v. EPA, 682 F.3d 1032, 1037–38 (D.C. Cir. 2012) (policy shift permissible

where agency “did not rely on new facts, but rather on a reevaluation of which policy would be better

in light of the facts ….” because “‘[a]n agency’s view of what is in the public interest may change,

either with or without a change in circumstances.’”) (quoting Motor Vehicle Mfrs. Ass’n of the U.S., Inc.

v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 57 (1983)). Further, those past CMS decisions were

issued very recently, in 2015 and 2016, and do not indicate a long-established agency finding that

community-engagement programs could never further the aims of Medicaid. After all, the ACA’s

creation of the expansion population went into effect only in 2014, was only adopted by some States,

and significantly changed the demographics of the Medicaid populations in those States.             The

possibility of demonstration projects involving the Medicaid expansion population, then, is new.

V.      THE TAKE CARE CLAUSE PROVIDES NO BASIS FOR RELIEF.

        The Take Care Clause states that the President “shall take care that the laws be faithfully

executed.” U.S. Const. Art. II, § 3. By its terms, it applies to the President—who is not a party here—

not to his subordinates. Id. And the Supreme Court has held that “the duty of the President in the

exercise of the power to see that the laws are faithfully executed” is not judicially enforceable.

Mississippi v. Johnson, 71 U.S. (4 Wall.) 475, 499 (1866). Of course, “[r]eview of the legality of

Presidential action can ordinarily be obtained in a suit seeking to enjoin the officers who attempt to

enforce the President’s directive” through other mechanisms, including the APA, under which

plaintiffs bring their other claims. Franklin v. Massachusetts, 505 U.S. 788, 828 (1992) (Scalia, J.,

concurring in the judgment). But the Take Care Clause provides no means for courts to review the

actions of subordinate Executive officials. A court cannot direct the actions of subordinate officers

on the basis of the Take Care Clause without exercising authority that the Clause commits to the

                                                   49
        Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 59 of 60



President himself rather than to courts. Count Nine, accordingly, should be dismissed.

VI.     PLAINTIFFS’ REQUESTED RELIEF IS IMPROPER.

        Plaintiffs seek to enjoin defendants from implementing both the policies announced in the

SMD guidance and “the approval” of the KY HEALTH waiver application, Compl., Prayer for Relief

¶ 4, and they ask the Court to vacate both the letter and the approval. But it is black-letter law that, if

the record does not support the agency’s decision, “the proper course, except in rare circumstances,

is to remand to the agency for additional investigation or explanation.” Fla. Power & Light Co. v. Lorion,

470 U.S. 729, 744 (1985). Even if the Court finds error in the approval of the demonstration project,

it may not “devise a specific remedy for the Secretary to follow,” but must instead remand to the

agency. Cty. of L.A. v. Shalala, 192 F.3d 1005, 1011 (D.C. Cir. 1999). And under the two-part analysis

required in the D.C. Circuit, any remand should be without vacatur. 21 Vacatur would be significantly

disruptive: among other consequences, Kentucky has indicated that its Medicaid expansion population

of over 428,000 individuals, see AR 5437, would face the prospect of having their coverage terminated .

See AR 5 (Kentucky leaders have expressed the importance of the demonstration in preserving

coverage); AR 5440; ECF No. 25-1, Gov. Matthew G. Bevin, Exec. Order (Jan. 12, 2018).

                                            CONCLUSION

        For the foregoing reasons, the Court should dismiss Plaintiffs’ Complaint, or, in the

alternative, grant summary judgment to the federal defendants and deny plaintiffs’ motion.

Dated: April 25, 2018                                 Respectfully submitted,

                                                      CHAD A. READLER
                                                      Acting Assistant Attorney General

                                                      ETHAN P. DAVIS
                                                      Deputy Assistant Attorney General

21
  The court must evaluate (1) “how likely it is the [agency] will be able to justify its decision on remand;
and (2) the disruptive consequences of vacatur.” Heartland Reg’l Med. Ctr. v. Sebelius, 566 F.3d 193, 197
(D.C. Cir. 2009) (citations omitted).

                                                    50
Case 1:18-cv-00152-JEB Document 51-1 Filed 04/25/18 Page 60 of 60




                                JOEL McELVAIN
                                Assistant Branch Director
                                Federal Programs Branch

                                /s/ Deepthy Kishore                   -
                                DEEPTHY KISHORE
                                VINITA ANDRAPALLIYAL
                                Trial Attorneys
                                U.S. Department of Justice
                                Civil Division, Federal Programs Branch
                                20 Massachusetts Avenue, N.W.
                                Washington, D.C. 20530
                                (202) 616–4448 (telephone)
                                deepthy.c.kishore@usdoj.gov

                                Counsel for the Federal Defendants




                               51
